Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18   PageID.570   Page 1 of 47




        EXHIBIT M
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18            PageID.571      Page 2 of 47




             HAYSE v. CITY OF MELVINDALE, ET AL.

                             CHAD LAWSON HAYSE




                                   February 12, 2018



                                      Prepared for you by




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Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                      PageID.572          Page 3 of 47
     CHAD LAWSON HAYSE
     February 12, 2018

                                                             Page 1                                                    Page 3
        1           UNITED STATES DISTRICT COURT                          1    APPEARANCES (Continued):
        2           EASTERN DISTRICT OF MICHIGAN                          2
        3              SOUTHERN DIVISION
        4                                                                 3       LAWRENCE J. COOGAN (P42433)
        5   CHAD HAYSE,                                                   4       4146 Oakwood Boulevard
                Plaintiff,                                                5       Melvindale, Michigan 48122
        6   -vs-                       Case No.: 17-cv-13294
            CITY OF MELVINDALE, a political Hon. Linda V. Parker
                                                                          6       (313) 381-0044
        7   Subdivision of the State;       Mag. Elizabeth A. Stafford    7       lawrencejcooganlaw@yahoo.com
            MELVINDALE CITY COUNCIL, a                                    8          Appearing as co-counsel on behalf of
        8   legislative body of the City of                               9          the Defendants.
            Melvindale; NICOLE BARNES,
        9   WHEELER MARSEE, MICHELLE SAID
                                                                         10
            LAND, DAVE CYBULSKI, CARL                                    11            ALSO PRESENT: Richard Ortiz
       10   LOUVET, and STEVEN DENSMORE,                                 12
            individuals, sued in their                                   13
       11   official and personal capacities,
                Defendants.                                              14
       12   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~/                            15
       13   DEPONENT:         CHAD LAWSON HAYSE                          16
       14   DATE:          Monday, February 12, 2018
       15   TIME:          9:36 a.m.
                                                                         17
       16   LOCATION:         Foley & Mansfield, PLLP                    18
       17               130 E. Nine Mile Road                            19
       18               Ferndale, Michigan                               20
       19
       20   REPORTER:    John J. Slatin, RPR, CSR-5180
                                                                         21
       21          Certified Shorthand Reporter                          22
       22                                                                23
       23          (Appearances listed on page 2)                        24
       24
       25                                                                25

                                                             Page 2                                                    Page 4
        1     APPEARANCES:                                                1             TABLE OF CONTENTS
        2                                                                 2
        3         DEBORAH L. GORDON (P27058)                              3   WITNESS                               PAGE
        4         ELIZABETH MARZOTTO TAYLOR (P82061)                      4
        5         Deborah Gordon Law                                      5   CHAD LAWSON HAYSE
        6         33 Bloomfield Hills Parkway, Suite 220                  6
        7         Bloomfield Hills, Michigan 48304                        7      Examination by Ms. Balian                 6
        8         (248) 258-2500                                          8      Examination by Ms. Gordon                 152
        9         dgordon@deborahgordonlaw.com                            9      Re-Examination by Ms. Balian              162
       10         emarzottotaylor@deborahgordonlaw.com                   10
       11            Appearing on behalf of the Plaintiff.               11   EXHIBITS (Attached):                   IDENTIFIED
       12                                                                12
       13         MELINDA BALIAN (P55744)                                13      Exhibit 1     Letter from Zarazua dated    24
       14         Foley & Mansfield, PLLP                                14                  6-26-12
       15         130 E. Nine Mile Road                                  15      Exhibit 2     Schedule A, Benefit Package 25
       16         Ferndale, Michigan 48220                               16                  document xx
       17         (248) 721-8183                                         17      Exhibit 3     Melvindale City Charter    28
       18         mbalian@foleymansfield.com                             18      Exhibit 4     Complaint for Removal of     34
       19             Appearing on behalf of the Defendants.             19                  Chad Hayse
       20                                                                20      Exhibit 5     Melvindale Police        45
       21              (Appearances continued on page 3)                 21                  Department, Rules and
       22                                                                22                  Regulations
       23                                                                23      Exhibit 6     Facebook posts            48
       24                                                                24
       25                                                                25        (Exhibits continued on page 5)




                                                                                                           Pages 1 to 4
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                          PageID.573                   Page 4 of 47
     CHAD LAWSON HAYSE
     February 12, 2018

                                                            Page 5                                                                   Page 7
        1    EXHIBITS (Continued):                         IDENTIFIED      1   Q. Okay. Have you been involved in any other litigation
        2                                                                  2       before?
        3        Exhibit 7    E-mail string from Heck    59                3   A. Yes.
        4                  dated 4-14-16                                   4   Q. What was that?
        5        Exhibit 8    Melvindale Police        75                  5   A. I've been divorced. I was a subject -- a party, a
        6                  Department, Office of the                       6      plaintiff, on a couple of civil suits, and I've been a
        7                  Chief of Police,                                7      defendant in a couple of City suits -- a couple of suits
        8                  Departmental Communication                      8      in conjunction with my employment with the City.
        9                  from Hayse dated 4-26-16                        9   Q. With the City of Melvindale?
       10        Exhibit 9    Executive Order No. 05-01    86             10   A. Yes.
       11        Exhibit 10 Policies document           117               11   Q. Okay. What court were your divorces out of?
       12                                                                 12   A. Wayne County, Third Circuit.
       13                                                                 13   Q. Okay. Other than your removal hearing, have you
       14                                                                 14       testified before under oath?
       15                                                                 15   A. In court or at a deposition?
       16                                                                 16   Q. Anything.
       17                                                                 17          Arbitration? Deposition?
       18                                                                 18   A. Yes.
       19                                                                 19   Q. Okay. And what were those for?
       20                                                                 20   A. The lawsuits that I had mentioned.
       21                                                                 21   Q. For Melvindale?
       22                                                                 22   A. Yes.
       23                                                                 23   Q. Okay. What lawsuits were those?
       24                                                                 24          Do you remember the names?
       25                                                                 25   A. No, I don't.


                                                            Page 6                                                                   Page 8
        1                             Monday, February 12, 2018            1   Q. Do you remember what court they were in?
        2                             Ferndale, Michigan                   2   A. One was in federal court.
        3                             9:36 a.m.                            3   Q. Eastern District Federal Court, I assume?
        4                     * * *                                        4   A. Yes.
        5             (Parties Present as indicated.                       5   Q. Okay.
        6             Mr. Coogan and Mr. Ortiz are                         6   A. And the only other case I can recall was in Wayne
        7             not present.)                                        7      County, Third Circuit Court.
        8                     * * *                                        8   Q. Okay. Do you have any other pending claims now
        9                CHAD LAWSON HAYSE,                                9      anywhere? Any other pending lawsuits now?
       10      having been first duly sworn, was examined and testified   10   A. No.
       11      as follows:                                                11          (Outside interruption; discussion
       12                    EXAMINATION                                  12          held off the record.)
       13   BY MS. BALIAN:                                                13          (Record repeated by the reporter.)
       14   Q. Okay. Mr. Hayse, we've met now a couple of times.          14   BY MS. BALIAN:
       15         My name is Melinda Balian, and I represent the          15   Q. And did you say that you were also involved in
       16      Defendants in this case.                                   16      depositions?
       17         MS. BALIAN: Let the record reflect that this            17   A. Yes.
       18      deposition is taken pursuant to Notice. It will be used    18   Q. And were the depositions for those lawsuits having to do
       19      for all purposes under the Federal Court Rules and Rules   19      with the City of Melvindale and your employment?
       20      of Evidence.                                               20   A. Yes.
       21   BY MS. BALIAN:                                                21   Q. Were you involved in any other depositions?
       22   Q. What's your full name, sir?                                22   A. Yeah . I believe one deposition I did was for a wrongful
       23   A. Chad Lawson Hayse.                                         23      death that occurred in the city, but I don't believe the
       24   Q. Have you ever gone by any other name?                      24      City was a subject of that lawsuit.
       25   A. No.                                                        25   Q. Okay. What's your date of birth, sir?




                                                                                                                    Pages 5 to 8
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                          PageID.574                 Page 5 of 47
     CHAD LAWSON HAYSE
     February 12, 2018

                                                              Page 9                                                              Page 11
        1   A. October 29th, 1967.                                         1   Q. To whom?
        2   Q. How old does that make you?                                 2   A. Melinda Hayse, H-a-y-s-e.
        3   A. Fifty.                                                      3   Q. Great name.
        4   Q. Okay. And your current address?                             4   A. I agree.
        5   A. 17457 Sunny Crest Drive in Brownstown, 48174.               5         I think she would, too.
        6   Q. How long have you lived at that address?                    6   Q. How long have you been married?
        7   A. Since 2012.                                                 7   A. Since 2012.
        8   Q. Do you own any other property?                              8   Q. And does she work?
        9   A. No, I don't.                                                9   A. She does.
       10   Q. Do you have an ownership interest in any other property?   10   Q. Where does she work?
       11   A. No.                                                        11   A. She works for the 24th District Court in Allen Park.
       12   Q. What cell phone number did you have when you were          12   Q. How long has she worked there; if you know?
       13      working as the chief in Melvindale?                        13   A. Nineteen years, I believe, last month.
       14   A. (313) 218-9219.                                            14   Q. Do you currently have benefits through her?
       15   Q. Is that the same cell phone number you have now?           15   A. Yes.
       16   A. It is.                                                     16   Q. How long have you had benefits through her?
       17   Q. Do you use any other cell phones?                          17   A. They've been available since we got married in 2012. I
       18   A. On occasion I will use my wife's, but primarily just my    18      believe I started using her healthcare in 2013.
       19      own.                                                       19   Q. Okay. Did you ever have vision or any sort of
       20   Q. Okay. Did you review any documents to prepare for          20      healthcare benefits through the City of Melvindale?
       21      today?                                                     21   A. Yes.
       22   A. I did.                                                     22   Q. What?
       23   Q. What did you review?                                       23   A. I had healthcare, vision care, dental, optical.
       24   A. I'm sorry?                                                 24   Q. But when you got married, you started taking them
       25   Q. What did you review?                                       25      through your wife in 2013?


                                                            Page 10                                                               Page 12
        1   A. I reviewed a copy of the filing of this lawsuit.            1   A. Correct.
        2   Q. A copy of the Complaint?                                    2   Q. Okay. And who lives with you at your home other than
        3   A. Yes.                                                        3      your wife?
        4   Q. Okay. Anything else?                                        4   A. Nobody.
        5   A. Just some notes that I had written.                         5   Q. Do you have children?
        6   Q. What notes?                                                 6   A. Yes.
        7   A. What's that?                                                7   Q. How many?
        8   Q. What notes?                                                 8   A. I have five. My wife has one.
        9            MS. GORDON: If it involved stuff you gave to us,      9   Q. What are the ages of your children?
       10       don't -- or prepared for counsel, don't answer.           10   A. Let me see.
       11   BY MS. BALIAN:                                                11         Twenty-four, 22, 20, 20, 18. And my stepson is 25.
       12   Q. Well, you can answer --                                    12   Q. And you've been previously married?
       13            MS. GORDON: Hang on. Let me find out.                13   A. Yes.
       14               (Discussion held off the record.)                 14   Q. Once?
       15   BY MS. BALIAN:                                                15   A. Yes.
       16   Q. Let me ask you this: Have you provided those notes to      16   Q. Not more than once?
       17       your counsel?                                             17   A. I'm sorry?
       18   A. Yes.                                                       18   Q. Not more than once?
       19   Q. Okay. Have you reviewed anything else?                     19   A. Just one prior.
       20   A. No.                                                        20   Q. Okay. When did you graduate high school?
       21   Q. Okay. Did you speak with anybody to prepare for today      21   A. 1985.
       22       other than your counsel?                                  22   Q. Where?
       23   A. No.                                                        23   A. Dearborn.
       24   Q. And you're currently married?                              24   Q. Did you go on to college?
       25   A. I am.                                                      25   A. I did.




                                                                                                                  Pages 9 to 12
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                           PageID.575                Page 6 of 47
     CHAD LAWSON HAYSE
     February 12, 2018

                                                              Page 13                                                            Page 15
        1   Q. Where?                                                      1      the exam in order to get the promotion to sergeant?
        2   A. I started at the University of Detroit in '85, and then     2   A. Yes.
        3      I transferred to Henry Ford Community College in '86.       3   Q. Okay. You said that was '99?
        4   Q. What type of degree did you earn?                           4   A. I believe that was October of '99.
        5   A. From U of D, I did not get a degree.                        5   Q. Okay. Go ahead.
        6         From Henry Ford, I have an associate's degree in         6   A. I was promoted to lieutenant in '04, I believe it was.
        7      criminal justice.                                           7         That's also a written examination.
        8   Q. When did you get that?                                      8   Q. Per the union contract?
        9   A. I believe it was '89.                                       9   A. Yes.
       10   Q. Any other degrees?                                         10   Q. Okay.
       11   A. Yes. I have a bachelor's degree in criminal justice        11   A. And then promoted to chief in -- interim chief in 2012
       12      from Mountain State University.                            12      and then chief in 2012.
       13   Q. Okay. Is that online, or was that -- where is Mountain     13   Q. Okay.
       14      State University?                                          14   A. Those are not tested for.
       15   A. Beckley, West Virginia.                                    15   Q. Because it's appointed?
       16   Q. Did you go to school there or was it obtained online?      16   A. Yes.
       17   A. It was online.                                             17   Q. Okay. When you were lieutenant, what are some of the
       18   Q. Okay. When was that?                                       18      responsibilities of a lieutenant?
       19   A. Oh, wow.                                                   19   A. I was assigned to the detective bureau. So, I oversaw
       20         20- -- and I'm going to guess 2004 or 2005.             20      the detectives in the detective bureau.
       21   Q. Any other degree?                                          21   Q. Okay.
       22   A. No degrees.                                                22   A. There are other lieutenant positions within the
       23         I have a certificate from Northwestern University       23      department, but I didn't have that position.
       24      for Police School Of Staff and Command. It was in 2006.    24   Q. Do you discipline employees as a lieutenant?
       25      And a certificate from the FBI national academy in 2012.   25   A. You can discipline employees.


                                                              Page 14                                                            Page 16
        1   Q. And what was it? The Northwestern what?                     1         Generally speaking, you request discipline through
        2   A. Police School of Staff and Command.                         2      the chief's office.
        3   Q. And was that in Michigan?                                   3   Q. So, you can suggest what a recommendation is or not?
        4   A. Yes.                                                        4   A. You can.
        5   Q. Okay. It was -- they were located here in Michigan and      5         If there's something more of an emergency nature,
        6      a school that you attended here?                            6      you can take action but for the most part the discipline
        7   A. Yes.                                                        7      comes from the chief.
        8   Q. Okay. Your first job in law enforcement was with the        8   Q. Did you ever discipline employees as a lieutenant?
        9      City of Melvindale; correct?                                9   A. Not that I recall.
       10   A. Yes.                                                       10   Q. What about as a sergeant?
       11   Q. And that was in -- you were hired in 1991?                 11          Does a sergeant discipline employees?
       12   A. Correct.                                                   12   A. They can.
       13   Q. Can you just go through a brief chronology of the          13         I don't believe I requested discipline -- I don't
       14      positions that you held with the Melvindale Police         14      believe any discipline was given out. When I was a
       15      Department?                                                15      sergeant, I did request some discipline for an officer.
       16   A. Sure.                                                      16   Q. When you say you "requested" it, you requested it of the
       17          In '91, I was hired and sent to the police academy.    17      chief?
       18      I graduated the police academy in '91, started road        18   A. Yes.
       19      patrol in December of '91. Promoted to sergeant, I         19   Q. Okay. So, you can say in your career you would request
       20      believe, in October of '99.                                20      it of the chief but you never handed out any discipline
       21   Q. Did you have to take an exam?                              21      as a sergeant or a lieutenant?
       22   A. Yes.                                                       22   A. Not that I recall, no.
       23   Q. Is that --                                                 23   Q. Okay. As a chief, did you discipline employees?
       24   A. Written and oral.                                          24   A. Yes.
       25   Q. And is that per the union contract? You have to take       25   Q. Okay. How often?




                                                                                                                 Pages 13 to 16
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                            PageID.576                    Page 7 of 47
     CHAD LAWSON HAYSE
     February 12, 2018

                                                                 Page 17                                                            Page 19
        1   A. I was a chief for a little over four years.                  1   A. I would.
        2         I would say once or twice a year.                         2   Q. Prior to being appointed chief, did you work various
        3   Q. Okay. How often would you say throughout your career         3       shifts?
        4      did you have to suspend an employee?                         4   A. Yes.
        5   A. Twice, I believe.                                            5   Q. Are there three shifts?
        6   Q. And who was that?                                            6   A. Three plus the detective bureau.
        7   A. Matthew Furman.                                              7   Q. Did the detective bureau generally work like an 8:00 to
        8   Q. He's the only employee you ever suspended?                   8       5:00 or 9:00 to 5:00, or what was it --
        9   A. I believe so, yes.                                           9   A. Generally they worked 8:30 to 4:30.
       10   Q. Okay. Did you ever terminate an employee?                   10   Q. Okay.
       11   A. Yes.                                                        11   A. The regular day shift was 8:00 to 4:00.
       12   Q. Who was that?                                               12   Q. What times were the other three shifts?
       13   A. I terminated two part-time ordinance officers. I don't      13   A. Afternoon shift was 4:00 p.m. to midnight, and then
       14      remember their -- the one guy's name was Adam. I don't      14       midnight shift was midnight to 8:00 a.m.
       15      remember his last name. And then I terminated a couple      15   Q. Midnight to 8:00.
       16      of probationary police officers. I don't remember their     16            And then what do you call the other shifts?
       17      names.                                                      17            So, there's afternoon, midnight and day shift?
       18   Q. Anybody else?                                               18   A. Days.
       19   A. I don't believe so.                                         19   Q. Which was 8:00 to 4:00; is that correct?
       20   Q. Once you became chief, you were no longer governed by       20   A. Yes.
       21      the union contract; correct?                                21   Q. Okay. Were you familiar during your employment as
       22   A. Yes.                                                        22       sergeant, lieutenant, into being chief, with the
       23   Q. Did you ever serve as a union representative of any sort    23       Executive Order 05-01 when you were employed at
       24      during your tenure with Melvindale?                         24       Melvindale?
       25   A. Yes.                                                        25   A. I was not aware of that when I was a sergeant,


                                                                 Page 18                                                            Page 20
        1   Q. When?                                                        1      lieutenant.
        2   A. I was on the patrol officers of the Melvindale Police        2   Q. So, you became aware of when you were a chief?
        3       Officers' Association board several times. They have        3   A. I found it in a file in the chief's office.
        4       four positions. I believe I've held all four at one         4   Q. What about through your work with your positions with
        5       time or another.                                            5      the union? You were never aware of it then?
        6   Q. When you say they have four "positions," what positions      6   A. No.
        7       are you talking about?                                      7   Q. Okay. So, when is it you became aware of it as chief?
        8   A. President, vice president, secretary and treasurer.          8   A. I would guess either sometime between 2012 and 2014.
        9   Q. So, what type of responsibilities would you have when        9   Q. And how is it that you became aware of it?
       10       you held those positions?                                  10          You say you found it in a drawer.
       11   A. Depending on which position it was, the president           11          How is it you came to find it in a drawer?
       12       generally is the one that speaks with the chief            12   A. I was going through some file -- a filing cabinet behind
       13       regarding disciplinary issues with members of that         13      the chief's desk, and it was in a file.
       14       collective bargaining unit. In his absence, the vice       14   Q. What was it that you were looking for?
       15       president can take over. Secretary takes the notes.        15   A. I wasn't looking for anything in particular. I was just
       16       Treasurer pays the bills. And all four attend any          16      looking to see what was in the drawers.
       17       negotiating sessions with the City regarding labor         17   Q. Okay. What did you do with it once you found it?
       18       contracts.                                                 18   A. I left it in the drawer.
       19   Q. Okay. Did you ever have citizen complaints filed            19   Q. Did you think to yourself, oh, if I ever suspend an
       20       against you during your tenure of employment with          20      officer, I'm going to need to use this?
       21       Melvindale?                                                21   A. No, I didn't.
       22   A. Yes.                                                        22   Q. Why?
       23   Q. Would you agree that just because a citizen complaint is    23   A. We had -- the City had issued discipline any number of
       24       filed against a police officer, it's not necessarily       24      times and had not used the form.
       25       true or accurate?                                          25   Q. I thought you said the only officer you had suspended




                                                                                                                  Pages 17 to 20
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                                PageID.577               Page 8 of 47
     CHAD LAWSON HAYSE
     February 12, 2018

                                                                   Page 21                                                             Page 23
        1      was Matthew Furman?                                            1      reappointed?
        2   A. Correct. I didn't mean the -- the ones that I had              2   A. The city council had an emergency meeting, and they
        3      suspended but officers had been disciplined and the form       3      reappointed me as an officer of the department.
        4      had not been used.                                             4   Q. Okay. They had an emergency meeting?
        5               (Outside interruption; discussion                     5   A. Yes.
        6               held off the record.)                                 6   Q. What happened with that meeting?
        7         MS. BALIAN: We're going to take a short break, I            7   A. They reappointed me as a police officer for the police
        8      guess.                                                         8      department.
        9               (Short recess at 9:56 a.m.)                           9   Q. Were you represented by counsel at that meeting?
       10                     * * *                                          10   A. I had several attorneys with me, yes.
       11            (Record resumed at 10:02 a.m.)                          11   Q. Okay. For what purpose?
       12          (Record repeated by the reporter.)                        12   A. I thought it was in my best interest.
       13   BY MS. BALIAN:                                                   13   Q. Did you speak at the meeting?
       14   Q. So, what suspensions were you involved in that you were       14   A. I don't believe I did.
       15      aware of what was used for them?                              15   Q. Okay. Did your attorneys talk on your behalf at the
       16   A. I don't understand that.                                      16      meeting?
       17   Q. So, you indicate that the form had not been used for          17   A. Yes.
       18      other suspensions that you were aware of?                     18   Q. Okay. Who spoke on your behalf?
       19   A. Correct.                                                      19   A. There was a labor attorney from the POLC --
       20   Q. So, what suspensions are you aware of where the form had      20          THE REPORTER: I'm sorry. "-- from the --"
       21      not been used?                                                21   A. POLC, Police Officers Labor Council, and I had two
       22   A. There were a number of officers that were suspended over      22      private attorneys with me. I believe one of them spoke.
       23      the years that would have been after 2005 when that           23      The last name is Gorcyca. I don't remember his first
       24      Executive Order came out that the forms weren't used. I       24      name.
       25      know one specifically was, Patrick Easton was suspended,      25   BY MS. BALIAN:


                                                                   Page 22                                                             Page 24
        1      I think for 60 days, and I don't think the form was used       1   Q. David Gorcyca?
        2      for that suspension.                                           2   A. Yes.
        3   Q. When was that?                                                 3   Q. And he spoke on your behalf as well?
        4   A. I'm going to guess it was probably in 2005. Maybe 2006.        4   A. He did.
        5      I'm not positive.                                              5   Q. Okay. And you were reappointed to the position at that
        6   Q. Anybody else?                                                  6      meeting?
        7   A. That was suspended?                                            7   A. No. I was rehired at that meeting. Then there was an
        8   Q. And he was suspended without pay?                              8      emergency Public Safety Commission meeting where I was
        9   A. He was.                                                        9      reappointed.
       10   Q. Okay.                                                         10   Q. Okay.
       11   A. Not that I recall.                                            11             (Discussion held off the record.)
       12   Q. Okay. In 2012, when you were first appointed, there was       12              (Deposition Exhibit 1 marked
       13      some sort of issue with your appointment; is that             13              for identification.)
       14      correct?                                                      14   BY MS. BALIAN:
       15   A. I believe so.                                                 15   Q. I'm showing you what was marked as Exhibit 2 --
       16   Q. Okay. And you were then, what, taken out of the job?          16         THE REPORTER: I'm sorry --
       17      Is that what happened?                                        17   BY MS. BALIAN:
       18   A. I was fired.                                                  18   Q. Exhibit 1. Sorry.
       19   Q. You were fired. Okay.                                         19         Have you ever seen this document before?
       20          And then did it go for a hearing before city              20         MS. GORDON: That's Number 1.
       21      council?                                                      21   A. I believe I have, yes.
       22   A. No.                                                           22   BY MS. BALIAN:
       23   Q. Okay. Did it -- was there some sort of hearing?               23   Q. Okay. And it shows in the second paragraph that your
       24   A. No, there was not.                                            24      annual salary is $77,910.56.
       25   Q. Okay. Then what happened where you then were                  25         Was that correct back in 2012?




                                                                                                                      Pages 21 to 24
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                            PageID.578                Page 9 of 47
     CHAD LAWSON HAYSE
     February 12, 2018

                                                                 Page 25                                                         Page 27
        1   A. Yes.                                                         1   A. I don't know. I don't recall it ever happening.
        2   Q. Okay. What was your salary at the time of your removal       2         MS. GORDON: Is there a question?
        3      in 2016? Do you remember?                                    3         MS. BALIAN: I was waiting for him to explain the
        4   A. Same number.                                                 4      rest of his benefits that he --
        5   Q. Same number.                                                 5         MS. GORDON: Okay. Well, you had asked another
        6         If there was any sort of an increase in the salary,       6      question. He went through his benefits.
        7      did it have to be approved by city council?                  7         Do you want him to go back to that document?
        8   A. I believe so, yes.                                           8   BY MS. BALIAN:
        9   Q. What other benefits did you have or what benefits did        9   Q. Were there any other benefits?
       10      you have to go along with salary?                           10   A. I believe this document also references other City labor
       11   A. They would have been listed in the Schedule A document      11      agreements. If any of the other unions in the City
       12      with the City.                                              12      receive a benefit, then under Schedule A, prior to the
       13             (Deposition Exhibit 2 marked                         13      change, the chief would receive those benefits as well.
       14             for identification.)                                 14   Q. Where do you see that?
       15         MS. BALIAN: I have an extra one.                         15         What are you referring to?
       16         MS. GORDON: That's all right.                            16   A. The first line under "Police Chief":
       17   BY MS. BALIAN:                                                 17            "The administrative/appointee staff shall
       18   Q. Is this the "Schedule A" that you were speaking of?         18         receive those benefits --"
       19   A. I believe so. This would be one of them.                    19         THE REPORTER: Excuse me? Sorry.
       20         Schedule A was changed while I was chief, so there       20   A. (Reading.)
       21      should be a second one.                                     21            "The administrative/appointee staff shall
       22   Q. At the top it says, "For Employees Hired Before             22         receive those benefits listed hereafter as
       23      1-1-2016."                                                  23         provided or those provided to city employees
       24         So you think there's another one?                        24         via the staff and command union contract,
       25   A. I believe this is the original one. I believe they          25         whichever is greater."


                                                                 Page 26                                                         Page 28
        1      changed Schedule A benefits in 2015 or 2016. I don't         1    BY MS. BALIAN:
        2      remember which year it was.                                  2    Q. "Whichever is greater."
        3   Q. Okay. So, if you don't believe this is it, then why          3          So, if they're greater in this document, then
        4      don't you tell me what you believe your benefits were?       4       you're going to receive these, but if they're greater in
        5          Did you have a pension?                                  5       the union contract, then you're going to receive those?
        6   A. Yes.                                                         6    A. Correct.
        7   Q. Okay. When you were removed, did you take out a payout       7    Q. It that you're understanding?
        8      of a retirement of any kind?                                 8    A. That is my understanding.
        9   A. No.                                                          9    Q. Okay. Anything else?
       10   Q. And you already have your medical through your wife.        10          Any other benefits that you know of?
       11          So, anything else? Any other benefits that you had      11    A. Use of the city vehicle.
       12      through the City?                                           12    Q. Anything else?
       13   A. Yes.                                                        13    A. Not that I recall at this time, no.
       14   Q. What?                                                       14    Q. Okay.
       15   A. Because I didn't take the healthcare, I received $300 a     15              (Deposition Exhibit 3 marked
       16      month not to take the healthcare. The group life            16              for identification.)
       17      insurance, I don't have that anymore. Vacation time,        17    BY MS. BALIAN:
       18      holidays, sick time, personal time, the ability to          18    Q. I'm showing you what has been marked as Exhibit 3.
       19      increase my pension, longevity pay.                         19          Do you recognize that as the City of Melvindale
       20   Q. How much did you receive in longevity pay?                  20       "Charter"?
       21   A. Should be, I believe, $1,000 annually.                      21    A. It appears to be, yes.
       22         Clothing allowance, gun allowance. I was not given       22    Q. Are you familiar with the Charter?
       23      my weapon when I left. I don't have retired ID.             23    A. Some of it, yes.
       24   Q. If officers are removed from their position, are their      24    Q. What are you familiar with?
       25      weapons typically taken?                                    25          MS. GORDON: It's too broad a question for him to




                                                                                                                     Pages 25 to 28
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                            PageID.579               Page 10 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                              Page 29                                                              Page 31
        1      answer.                                                     1      give specific authority to the Public Safety to remove
        2            MS. BALIAN: Well, he's saying he's --                 2      appointed officials?
        3            MS. GORDON: It's a lengthy document.                  3          MS. GORDON: That could call for a legal
        4            MS. BALIAN: He's saying he's familiar with some of    4      conclusion.
        5      it.                                                         5          Objection.
        6            MS. GORDON: Right.                                    6   BY MS. BALIAN:
        7            MS. BALIAN: So, I want to know what part of it        7   Q. I'm just asking if there's any wording in there that
        8      he's familiar with.                                         8      says that they have authority to remove --
        9            MS. GORDON: Take your time, Chad, if you can go       9          MS. GORDON: Well, the document speaks for itself.
       10      through it or if you recall.                               10      There's no reason to ask about the wording.
       11   A. I've read some of the sections of the contract in the      11   BY MS. BALIAN:
       12      past.                                                      12   Q. You can answer the question.
       13            I'm sorry.                                           13   A. I'm sorry. What was the question?
       14            Of the Charter in the past.                          14   Q. Is there any language in that section that gives
       15   BY MS. BALIAN:                                                15      authority to the Public Safety Commission to remove
       16   Q. Are you familiar with the portion of it that covers what   16      appointed officials?
       17      your duties are?                                           17   A. I would say under Section 5, letter (a), that they could
       18   A. I read that, yeah.                                         18      remove members of the department.
       19   Q. Okay. Do you agree that the Charter indicates -- well      19   Q. Where does it say that?
       20      if you refer to page 29?                                   20   A. (Reading.)
       21            MS. GORDON: What part? Section 6 or --               21               "It shall possess and exercise fully all
       22   BY MS. BALIAN:                                                22         the powers and perform all the duties pertaining
       23   Q. Under the "Duties" listed at the bottom.                   23         to the government management, maintenance and
       24            MS. GORDON: 6(b), for the record.                    24         direction of the police and fire departments of
       25            MS. BALIAN: That's correct.                          25         the City --"


                                                              Page 30                                                              Page 32
        1   BY MS. BALIAN:                                                 1   Q. Okay. So, that's your reading of the paragraph?
        2   Q. Under "Chief of Police Department," and it says:            2           MS. GORDON: Well, obviously.
        3                "The Chief of the Police Department shall         3   A. That's what you asked.
        4            perform such duties as prescribed by law, this        4   BY MS. BALIAN:
        5            Charter, Ordinances of the City of Melvindale,        5   Q. I asked does it say that they can remove appointed
        6            and such rules and regulations as shall be put        6       officials.
        7            into effect by the Commission of Public Safety."      7           MS. GORDON: Okay. You asked him a question. I
        8            MS. GORDON: What's the question?                      8       think he answered it, Melinda. I mean, as I said
        9   BY MS. BALIAN:                                                 9       before --
       10   Q. Do you understand that, or do you agree --                 10           MS. BALIAN: I'd rather have him answer --
       11            MS. GORDON: We agree that the document --            11           MS. GORDON: -- the document speaks for itself.
       12   BY MS. BALIAN:                                                12           MS. BALIAN: -- and not his attorney.
       13   Q. -- that that's what it said?                               13           MS. GORDON: He just answered it. He said yes.
       14            MS. GORDON: We stipulate the document speaks for     14   BY MS. BALIAN:
       15      itself and it says that.                                   15   Q. Does that language give them specific authority for
       16   BY MS. BALIAN:                                                16       removal?
       17   Q. Did you understand that those were your duties when you    17   A. Yes.
       18      were the chief of police?                                  18   Q. Okay. Well, why don't we go to page 18?
       19   A. Yes.                                                       19   A. Same document?
       20   Q. If you go to page 28, and if you refer to Chapter 20,      20   Q. Yes.
       21      were you familiar with this portion that covers the        21           Chapter 13, Section A, would you agree says,
       22      Commission of Public Safety when you were the chief of     22       "Appointed Officials: Who may be removed and causes for
       23      police?                                                    23       removal," and the first sentence says, if you agree,
       24   A. Yes.                                                       24       that:
       25   Q. Do you agree that the language in that section does not    25                "The council may remove from office any




                                                                                                                Pages 29 to 32
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                             PageID.580                Page 11 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                   Page 33                                                           Page 35
        1              appointive official of the City for any of the         1          MS. BALIAN: I'm sorry for that.
        2              following causes --"                                   2   A. I recognize the document, yes.
        3              And then it lists a number of things underneath?       3   BY MS. BALIAN:
        4              MS. GORDON: We agree it says that. It's on the         4   Q. And this it dated August 3rd, 2016; is that correct?
        5       page.                                                         5   A. Yes.
        6   BY MS. BALIAN:                                                    6   Q. Was this provided to you at the city council meeting on
        7   Q. Do you agree, Mr. Hayse, that that's what it says?             7      August 3rd of 2016?
        8              MS. GORDON: Okay. I just --                            8   A. Yes.
        9              MS. BALIAN: Can you let your client answer,            9          I'm sorry. What was the date?
       10       please?                                                      10   Q. August 3rd.
       11              MS. GORDON: It's -- you know, the document speaks     11   A. I'm not sure of the date. It was in that time frame.
       12       for itself. You just read the words properly.                12   Q. Was it provided to you during the closed session of that
       13              Agree, Chad?                                          13      city council meeting or the open session?
       14   A. It says that.                                                 14   A. I'm not sure.
       15              MS. GORDON: Okay.                                     15          I think it was during the closed session portion of
       16   BY MS. BALIAN:                                                   16      that but I'm not positive.
       17   Q. Okay. It doesn't say "the Public Safety Commission";          17   Q. How was it provided to you?
       18       correct? It says "The council"?                              18   A. Handed to me.
       19              MS. GORDON: With regard to what? "Appointive          19   Q. By whom?
       20       official"?                                                   20   A. I believe Nicole Barnes gave it to me.
       21   BY MS. BALIAN:                                                   21   Q. Did you discuss it?
       22   Q. Do you see where it says that under Section 1?                22   A. I don't believe so.
       23              MS. GORDON: Listen, we don't want to argue about      23   Q. During the closed session?
       24       what the document says. We've stipulated to what it          24   A. I don't -- I don't believe so.
       25       says. There's no point in arguing with him about the         25   Q. During the meeting, which I believe the record will


                                                                   Page 34                                                           Page 36
        1      words on the page.                                             1      reflect was on August 3rd but you're indicating, if not,
        2   BY MS. BALIAN:                                                    2      it was somewhere around that time frame, was there a
        3   Q. Do you agree that the city council had authority to            3      majority vote to suspend you with pay?
        4      remove you?                                                    4   A. I believe so.
        5   A. No.                                                            5   Q. Have you destroyed any information or documentation,
        6   Q. Why?                                                           6      whether inadvertently or otherwise, that may be relevant
        7   A. I was not appointed by city council. I was appointed by        7      to this litigation?
        8      the Public Safety Commission.                                  8   A. Not that I know of, no.
        9   Q. Okay. Does it say under this section that the Public           9   Q. Have you had any contact with any police department
       10      Safety Commission -- or, I'm sorry.                           10      employees since being removed?
       11           Does it say under this section that the city             11   A. Yes.
       12      council had to appoint you in order to have authority to      12   Q. Who?
       13      remove you?                                                   13   A. Nick and Amber Martinez.
       14   A. It does not.                                                  14          THE REPORTER: I'm sorry?
       15               (Deposition Exhibit 4 marked                         15   A. Nick and Amber Martinez. They live across the street
       16               for identification.)                                 16      from me.
       17   BY MS. BALIAN:                                                   17         I believe she is currently assigned to the
       18   Q. I'm showing you what has been marked as Exhibit Number        18      detective bureau, and I believe Nick is a sergeant
       19      4.                                                            19      assigned to the midnight shift.
       20           Do you recognize this as the "Complaint --" the          20   BY MS. BALIAN:
       21      original "Complaint for Removal"?                             21   Q. Have you talked about this litigation?
       22           MS. GORDON: I'd note for the record the printout         22   A. Only insofar as they asked me if the lawsuit had been
       23      is --                                                         23      filed.
       24           MS. BALIAN: I know.                                      24   Q. And when was that discussion?
       25           MS. GORDON: -- not good, and it's hard to read.          25   A. Prior to the lawsuit being filed.




                                                                                                                  Pages 33 to 36
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                          PageID.581                   Page 12 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                              Page 37                                                            Page 39
        1   Q. And you haven't talked with them since?                     1   A. Were going to get sued.
        2   A. No, I've talked to them. I talked to Amber on either        2         THE REPORTER: Thank you.
        3      Saturday or Sunday.                                         3   A. So, Mr. Lane provided the name of a couple officers that
        4   Q. But you haven't talked about the litigation?                4      were in the area when that statement was made, and I
        5   A. No.                                                         5      spoke with those officers or texted those officers to
        6   Q. Have you talked to anybody else from the police             6      see if they, in fact, heard the same thing.
        7      department?                                                 7   BY MS. BALIAN:
        8   A. Yes.                                                        8   Q. And who were those officers?
        9   Q. Who?                                                        9   A. Jones and Nolin.
       10   A. I spoke with Chief Allen. I've spoken with Lieutenant      10   Q. And what did you text them?
       11      Mike Welch. I've spoken with Corporal Nolin, Sara Lane.    11   A. If they were present when Mr. Lane was speaking with
       12      I think she just got promoted to corporal but I'm not      12      Wheeler Marsee.
       13      positive.                                                  13   Q. And what did they respond?
       14         And I've exchanged text messages with a number of       14   A. Jones did not respond to the text message.
       15      the officers on the midnight shift.                        15         And Nolin told me that he was one of the officers
       16   Q. Have you talked --                                         16      that was present when that was said.
       17   A. So, that would be Pappas and Gall.                         17   Q. And what did he say he overheard?
       18          THE REPORTER: "-- Pappas and --" I'm sorry?            18   A. Same thing as Mr. Lane.
       19   A. Gall, G-a-l-l.                                             19   Q. Any other discussions with officers?
       20         Alan Lash, Lieutenant Dan Jones and Sergeant Chad       20   A. I've had a couple conversations with Mike Welch,
       21      Detrich.                                                   21      mostly -- not about the lawsuit, but he -- after the
       22   BY MS. BALIAN:                                                22      lawsuit was filed, he said he read the Complaint and
       23   Q. How do you spell Detrich?                                  23      said that it was spot on.
       24   A. I believe it's D-e-t-r-i-c-h.                              24   Q. Okay. Any other discussions?
       25   Q. Have you spoken with any of them or texted with any of     25   A. I don't believe so, no.



                                                              Page 38                                                            Page 40
        1      them about the litigation?                                  1   Q. Have you spoken with or had communication with any
        2   A. I spoke with Jones, Nolin and Lane, I believe.              2      employees of the City of Melvindale?
        3   Q. And what did you --                                         3         MS. GORDON: Other than the people he's just
        4   A. And Lieutenant Welch.                                       4      mentioned?
        5   Q. -- talk about?                                              5         MS. BALIAN: Yes.
        6         Jones, Nolin, Lane and who?                              6   A. Since I was terminated?
        7   A. Welch.                                                      7   BY MS. BALIAN:
        8         I spoke with Sara Lane at her birthday party. Her        8   Q. Yes.
        9      husband brought up something that he overheard on the       9   A. Yes.
       10      night of my proceeding when I was terminated and --        10         I've contacted Chief Allen to receive my personal
       11   Q. Which was what?                                            11      property from the building. I --
       12   A. I'm sorry?                                                 12         MS. GORDON: Other than the people you've already
       13   Q. What did he allegedly overhear?                            13      mentioned.
       14   A. He had a conversation with one of the city council         14   A. City administrator.
       15      members. So, he advised me of that conversation. I         15   BY MS. BALIAN:
       16      wasn't aware of --                                         16   Q. What did you talk to him about?
       17   Q. Which was what?                                            17   A. It was -- I don't believe I spoke with him. I think we
       18   A. He had a conversation with Wheeler Marsee, and he asked    18      either e-mailed or texted, and I was asking him about my
       19      Wheeler Marsee if he thought that I received a fair        19      payout of accrued sick and vacation time.
       20      hearing, and Sara Lane and Brandon Nolin and I believe     20   Q. Okay.
       21      Jones --                                                   21   A. And the same thing with Wheeler Marsee. I texted him
       22   Q. And what was Mr. Marsee's supposed response?               22      about the payout.
       23   A. He said that I had not received a fair hearing, and that   23   Q. Okay. What would Wheeler Marsee have to do with that?
       24      they knew they were going to get sued.                     24              (Outside interruption; discussion
       25         THE REPORTER: I'm sorry. "-- they knew they --          25              held off the record.)




                                                                                                                  Pages 37 to 40
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                         PageID.582                    Page 13 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                              Page 41                                                             Page 43
        1          MS. GORDON: I'm sorry, guys. May I?                     1      meeting when the decision was made to provide an Amended
        2          MS. BALIAN: Sure.                                       2      Formal Complaint for Removal; correct?
        3             (Short recess at 10:32 a.m.)                         3   A. No.
        4                    * * *                                         4   Q. So, if the minutes of the city council meeting indicate
        5             (Record resumed at 10:34 a.m.)                       5      you were present, you believe those were wrong?
        6   BY MS. BALIAN:                                                 6   A. Correct.
        7   Q. What did Wheeler Marsee have to do with your payout?        7         I had been suspended. I wasn't allowed there.
        8   A. The payout would have been approved by the city council.    8   Q. You weren't allowed to go to a public meeting?
        9         I also spoke with Ryan in the clerk's office. I          9   A. No.
       10      filed some FOIA requests, and he was the person I spoke    10   Q. Had you been removed from a public meeting?
       11      with when I filed those.                                   11   A. No.
       12   Q. Did you file them prior to the litigation?                 12   Q. So, the Amended Complaint for Removal, you were served
       13   A. Yes.                                                       13      with that by certified mail; is that correct?
       14   Q. What FOIA requests did you file?                           14   A. I believe so, yes.
       15   A. There were a number of them.                               15   Q. And you received that on August 19th; is that correct?
       16         I wanted copies of my notes from city council and       16   A. I don't recall. It sounds about right.
       17      Public Safety Commission meetings.                         17   Q. And the removal hearing lasted over a period of two
       18          THE REPORTER: I'm sorry. "-- from --"                  18      days, August 29th and August 30th; is that correct? Of
       19   A. City council and Public Safety meetings.                   19      2016?
       20   BY MS. BALIAN:                                                20              (Outside interruption; discussion
       21   Q. Copies of your notes pertaining to what?                   21              held off the record.)
       22   A. The meetings of the city council and the Public Safety     22   A. It was the last two days of August. I don't know if
       23      Commission.                                                23      it's the 29th, the 30th or the 31st.
       24   Q. So, just general notes that you had taken?                 24          (Mr. Coogan and Mr. Ortiz enter the room.)
       25   A. Yes.                                                       25   BY MS. BALIAN:


                                                              Page 42                                                             Page 44
        1   Q. Okay. Did you get those?                                    1   Q. Okay. And I'm not -- because it's ginormous.
        2   A. I believe I did.                                            2          Do you recognize this, which is bats stamp numbers
        3   Q. Okay. Did you provide them to your attorney?                3      360 through 485, as your Amended Complaint for Removal?
        4   A. I don't know.                                               4          MS. GORDON: It's not his Amended Complaint. It's
        5   Q. Okay. They haven't been produced in this lawsuit.           5      the City's Amended Complaint.
        6           Do you still have copies of them?                      6   BY MS. BALIAN:
        7   A. I do.                                                       7   Q. The Amended Complaint for Removal with which you were
        8   Q. You can provide those; right?                               8      served.
        9           MS. GORDON: Well, he not going to answer. We           9   A. It's fairly lengthy, but it appears to be, yes.
       10       provide whatever we're asked to provide.                  10   Q. And you agree that you sent Mr. Coogan a list of
       11   BY MS. BALIAN:                                                11      witnesses that you wanted available for you at that two
       12   Q. Do you believe they're relevant to this litigation?        12      days of hearings; correct?
       13           MS. GORDON: He not in a position to know that.        13   A. I believe so, yes.
       14           But go ahead. You can answer.                         14   Q. And those witnesses were made available for you over
       15   A. I don't know.                                              15      those two days; correct?
       16   BY MS. BALIAN:                                                16   A. No.
       17   Q. What time period did you ask for in the FOIA request?      17   Q. Who was not available?
       18   A. I don't remember.                                          18   A. All the officers that I didn't call.
       19   Q. You just asked for the Public Safety Commission            19   Q. Which was who?
       20       meetings?                                                 20   A. I don't remember all of them. There's probably 17.
       21   A. No. I asked for my notes for the city council and the      21   Q. You understand subpoenas were sent to the officers?
       22       Public Safety Commission meetings.                        22   A. I believe so.
       23   Q. And what other FOIA requests did you submit?               23   Q. So, officers chose not to appear once they were
       24   A. I don't remember.                                          24      subpoenaed?
       25   Q. You were present at the August 17th, 2016 city council     25   A. I don't know whether they appeared or not. I wasn't




                                                                                                                  Pages 41 to 44
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                           PageID.583                Page 14 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                               Page 45                                                             Page 47
        1      allowed to call them.                                        1      Melvindale Police Department social media and lying to
        2   Q. What do you mean you weren't "allowed" to call them?         2      the mayor and city council.
        3   A. I was only allowed to call a couple of witnesses. I          3           Do you agree?
        4      wanted to call all of the officers, and I was told that      4           MS. GORDON: The document speaks for itself. We
        5      I could not.                                                 5      agree Count 1 says misuse of Melvindale Police
        6   Q. Did each side choose not to duplicate testimony?             6      Department social media and lying to the mayor and city.
        7          Did the City also choose not to duplicate                7   BY MS. BALIAN:
        8      testimony?                                                   8   Q. Do you remember that that's what you were charged with,
        9          MS. GORDON: Okay. There's no -- there's been no          9      Mr. Hayse?
       10      testimony that anything was duplicative here. That's        10   A. Yes.
       11      your word that you're now adding into the dep. There's      11   Q. Okay. And specifically, if you recall, it was charged
       12      no foundation for him to answer what you mean by did        12      that you posted opposition and personal and political
       13      everybody decide not to duplicate. I don't know what        13      commentary on Facebook social media including the web
       14      that means.                                                 14      page of the Melvindale Police Department. Do you agree?
       15   BY MS. BALIAN:                                                 15           MS. GORDON: That's what it says.
       16   Q. So, if an officer testified that -- okay. We'll get         16   BY MS. BALIAN:
       17      into that once I go over the charges. Strike that.          17   Q. Do you agree that that's what you were charged with,
       18          As the chief of police, were you governed by the        18      Mr. Hayes?
       19      rules and regulations of the Melvindale Police              19           MS. GORDON: Okay. We're going to stipulate that
       20      Department?                                                 20      the document is -- is what it says.
       21   A. Yes.                                                        21           You don't have to ask him if that's what it says.
       22              (Deposition Exhibit 5 marked                        22   BY MS. BALIAN:
       23              for identification.)                                23   Q. You can answer yes or no.
       24          MS. GORDON: Did you mark this Amended Complaint?        24   A. That's what it says.
       25          MS. BALIAN: I didn't. I just identified it by           25   Q. If you'll look to --


                                                               Page 46                                                             Page 48
        1       Bates stamp.                                                1               (Deposition Exhibit 6 marked
        2          MS. GORDON: Okay. That's fine.                           2               for identification.)
        3          MS. BALIAN: If you want an extra copy.                   3   BY MS. BALIAN:
        4   BY MS. BALIAN:                                                  4   Q. I'm showing you what has been marked as Exhibit Number
        5   Q. If you could turn to -- it's Bates stamp number page         5      6.
        6       489.                                                        6           If you recall, the City of Melvindale presented
        7          You'll see the Bates stamp in the lower right hand       7      this as it's exhibit at the removal hearing.
        8       corner.                                                     8           Do you remember that?
        9   A. Uh-huh. Yes.                                                 9   A. I think so.
       10   Q. If you look at the bottom of that page, do you agree        10   Q. And at the very top of this document, there's a post
       11       that this -- on this page and going on to the next page,   11      from the Melvindale Police Department that says:
       12       it identifies what your duties were as chief of police?    12               "There's a workshop tonight at 7:30 p.m.
       13   A. Yes, it does.                                               13           to discuss combining our 911 call dispatch with
       14   Q. So, you agree that as chief of police you were to devote    14           the City of Dearborn. City council plans on
       15       your entire time to discharging those duties; correct?     15           voting on this issue next Wednesday. The
       16   A. That's what it says, yes.                                   16           'merger' could have a drastic affect on the
       17   Q. And also part of your duties was to properly and            17           operations of our police department. The
       18       efficiently enforce the laws and ordinances; correct?      18           workshop will be in council chambers at city
       19   A. Yes.                                                        19           hall."
       20   Q. And to enforce the rules and regulations that you're        20           Now, you admitted at your hearing to posting that
       21       looking at; correct?                                       21      post on the Melvindale It Takes A Village web page;
       22   A. Yes.                                                        22      correct?
       23   Q. So, I want to focus a little bit on the removal hearing     23   A. No. I believe it's posted on the police department
       24       that took place on August 29th and August 30th.            24      Facebook page.
       25          Charge 1, if you recall, was the misuse of the          25   Q. I thought you didn't agree that that was posted on the




                                                                                                                   Pages 45 to 48
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                         PageID.584                 Page 15 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                               Page 49                                                            Page 51
        1        police department page?                                    1         And then on document 2553:
        2   A. I don't know what you're talking about.                      2              "Fire department response time is not
        3   Q. Did you make that post on the Melvindale It Takes A          3         faster. They will tell you the dispatch time
        4        Village web page?                                          4         but not the length of time the dispatcher took
        5   A. You're showing me one document and asking me about           5         to get the information."
        6      something else.                                              6              "The officers are against the idea."
        7   Q. I'm asking if you posted it on the Melvindale It Takes A     7              "Combining dispatch was brought up as a
        8        Village web page.                                          8         cost saving measure without explaining how the
        9   A. I don't know. I'm -- I'm confused as what you're             9         City would save money."
       10      asking.                                                     10         Bates stamp document 2554, four more posts in your
       11   Q. So, you don't know if you posted it there?                  11      own name.
       12   A. I'm trying to refer to the document that you have but       12         In the bottom two:
       13      you're asking me about something else.                      13              "The one getting the shaft may be the
       14   Q. I asked you a question.                                     14         taxpayers."
       15   A. I don't know.                                               15         Those are all posts in your personal name; correct?
       16   Q. You don't know if you did.                                  16   A. It appears so.
       17           So, you posted it on the police department web         17   Q. Your defense at the removal hearing was that the posts
       18        page?                                                     18      were made on the Melvindale It Takes A Village web page;
       19   A. That's what this document shows, yes.                       19      is that correct?
       20   Q. Okay. And then if you turn to the second page at the        20   A. Most of those, yes.
       21        very top it --                                            21   Q. Okay. And you called one witness on your behalf,
       22           MS. GORDON: Excuse me. Just for the record, this       22      John -- is it Sabo?
       23        document is highlighted.                                  23   A. Yes.
       24           Is it -- have you put that on there?                   24   Q. You understand under the rules and regulations that you
       25           MS. BALIAN: I did not.                                 25      were required to avoid political discussions while on


                                                               Page 50                                                            Page 52
        1             MS. GORDON: Okay. Fair enough. I'm just asking        1      duty; correct?
        2         for the record.                                           2          MS. GORDON: What rules and regulation are you
        3   BY    MS. BALIAN:                                               3      referencing?
        4   Q.     (Reading.)                                               4          You've had several things out here today.
        5                 "If they remove the supervisors from the          5          There are rules and regulations that you've asked
        6             station and send our prisoners to Dearborn,           6      him.
        7             we don't see a cost savings without staff             7          Are these the rules? What are you referring to?
        8             reductions."                                          8          MS. BALIAN: Page 501 of the Rules and Regulations.
        9             You also admitted to making that post; correct?       9          MS. GORDON: Here it is.
       10   A.     I believe so.                                           10   BY MS. BALIAN:
       11   Q.     And on the third page:                                  11   Q. It's right here in front of you.
       12                 "Melvindale Police Department. We have           12          On the third paragraph down, do you see where it
       13             heard complaints about increased response time       13      says:
       14             for the fire department but I don't have data        14              "A member shall avoid all religious or
       15             to verify."                                          15          political discussions in the station house or
       16             You admitted to making that post; correct?           16          elsewhere while on duty --"
       17   A.     I believe so.                                           17   A. It does say that.
       18   Q.     And then on the fourth page, it starts your personal    18   Q. Okay. And you've already indicated that as chief of
       19         post:                                                    19      police you were always to be on duty; correct?
       20                 "No cost for the 911 system first five           20          MS. GORDON: Well, where has he indicated that?
       21              years but we have to remove our existing            21          Because I don't -- that hasn't been asked today at
       22             system."                                             22      the deposition.
       23             And then on Bates stamp page 2552, you talk about:   23          MS. BALIAN: Actually, I did ask it.
       24                 "The desk officer will not be moved to the       24   BY MS. BALIAN:
       25             street."                                             25   Q. If you want to turn back --




                                                                                                                 Pages 49 to 52
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                          PageID.585               Page 16 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                               Page 53                                                          Page 55
        1          MS. GORDON: Because if you're telling me your           1        "Chief of Police"?
        2      policy says that you can't discuss anything political at    2            MS. GORDON: Okay. We agree with the words on the
        3      any time ever so long as you're police chief, that's        3        page.
        4      flatly unconstitutional. So, that can't be what it          4            Do you -- are you asking him for --
        5      means.                                                      5            MS. BALIAN: I don't want a "we." I'm asking your
        6          MS. BALIAN: I've already gone over this with him,       6        client.
        7      but I can go over it again.                                 7            MS. GORDON: Well, this is a "we" right here.
        8          MS. GORDON: Well, I'm just telling you that -- you      8            MS. BALIAN: Okay. But do you have an objection?
        9      can point us to what you want to point to, but clearly      9            MS. GORDON: When I --
       10      the law does not say that he can never discuss anything    10            MS. BALIAN: Then state it.
       11      political, ever.                                           11            MS. GORDON: When I stipulate that the words say
       12   BY MS. BALIAN:                                                12        that, that comes from both of us. That's number one.
       13   Q. On page 489 -- if you can turn to Bates stamp number       13            Number two, we agree that the words say this.
       14      489?                                                       14            Are you now asking him for his interpretation?
       15          Under "Chief of Police," the second line, you          15            MS. BALIAN: I'm not asking for an interpretation.
       16      agree, says you shall devote your entire time to           16            MS. GORDON: Well, the words say what they say.
       17      the discharge of your duties in office?                    17            MS. BALIAN: Okay.
       18          Do you --                                              18            MS. GORDON: Nothing in there says that he's --
       19          MS. GORDON: Okay. You think that means 24 --           19        24 hours a day, 365 days a year, he can't make a
       20          MS. BALIAN: I would just like to be able to take       20        political comment or a religious comment.
       21      your client's deposition without you giving a              21            MS. BALIAN: Okay. I'm not deposing you, Deb.
       22      dissertation on it; okay?                                  22        You're all set.
       23          MS. GORDON: Okay. Well, I'm going to object            23   BY MS. BALIAN:
       24      because if --                                              24   Q. Did the Public Safety Commission give you permission to
       25          MS. BALIAN: Okay. Then make your objection and be      25        post on behalf of the police department that this


                                                               Page 54                                                          Page 56
        1      done with it. Unless it's attorney/client privileged,       1        "merger" was going to have a drastic affect on
        2      you can't tell him not to answer. So, make your             2        operations?
        3      objection --                                                3   A.    No, they did not.
        4          MS. GORDON: I didn't tell him not to answer, did        4   Q.    Did the city council?
        5      I?                                                          5   A.    No.
        6          MS. BALIAN: -- please, Deb, and be done.                6   Q.    Did anybody on behalf of the City?
        7          MS. GORDON: Did I tell him not to answer?               7   A.    Not that I recall.
        8          MS. BALIAN: So, what's your objection?                  8   Q.    And you've called nobody else as a witness on your
        9          MS. GORDON: Well, if you'd stop talking, I'll do        9        behalf related to Charge 1; correct? Other than
       10      it.                                                        10        Mr. Sabo?
       11          MS. BALIAN: Okay. State your objection.                11   A.    I don't recall.
       12          MS. GORDON: Okay. This assumes facts not in            12            I believe there were other witnesses called. I
       13      evidence. What you've just pointed my client to has to     13        think Sabo was the first one I called.
       14      do with -- where is it?                                    14   Q.    But you don't recall at this time?
       15          MS. BALIAN: The second line under Section 3.           15            MS. GORDON: Well, the record will speak for
       16          MS. GORDON: Okay. "He shall devote his entire          16        itself. You've got a record.
       17      time" clearly does not mean 24 hours a day, 365 days a     17   BY   MS. BALIAN:
       18      year.                                                      18   Q.    You can answer the question.
       19          MS. BALIAN: Okay. Well, you can certainly argue        19   A.    I forgot what it was.
       20      that.                                                      20            Did I call --
       21          MS. GORDON: So, you're misstating the meaning of       21   Q.    You don't recall at this time whether you called any
       22      the document. That's my objection.                         22        other witnesses?
       23          MS. BALIAN: Okay. All right.                           23   A.    I don't believe I did.
       24   BY MS. BALIAN:                                                24   Q.    You testified at your removal hearing that the
       25   Q. Mr. Hayse, do you agree that that is what it says under    25        Melvindale It Takes A Village is a closed web page.




                                                                                                               Pages 53 to 56
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                         PageID.586                Page 17 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                               Page 57                                                        Page 59
        1          Do you remember that?                                   1   Q. And both you and the City introduced exhibits regarding
        2   A. Closed Facebook group, yes.                                 2      e-mail exchanges between you and Mr. Heck; is that
        3          THE REPORTER: I'm sorry. "Closed --"                    3      correct?
        4   A. Facebook group.                                             4   A. I believe so, yes.
        5          THE REPORTER: Thank you.                                5   Q. Okay. And you also called Mr. Heck as a witness; is
        6   BY MS. BALIAN:                                                 6      that correct?
        7   Q. Are you aware that anyone can log onto it and see the       7   A. I don't know if I called him or the City called him.
        8      posts but they can't see the comments?                      8   Q. But he testified?
        9   A. No, I'm not.                                                9   A. Yes.
       10   Q. Pertaining to Charge 2 of the Amended Complaint for        10   Q. And you were able to question him?
       11      Removal, it was charged that you knowingly and             11   A. Yes.
       12      intentionally provided false statements to the             12              (Deposition Exhibit 7 marked
       13      Commission of Public Safety.                               13              for identification.)
       14          MS. GORDON: What page are you on, Melinda?             14   BY MS. BALIAN:
       15          MS. BALIAN: What page? I don't know. I'm               15   Q. Mr. Hayse, I'm showing you your Exhibit 2 from the
       16      referring to my notes.                                     16      removal hearing.
       17          MS. GORDON: Okay.                                      17            Do you recognize this document?
       18   BY MS. BALIAN:                                                18   A. Wow.
       19   Q. Specifically, it was charged that on May 10th, 2016 at     19            MS. GORDON: Really tiny print here.
       20      the public --                                              20            MS. BALIAN: I think that was the problem at the
       21          MS. GORDON: He's got to catch up with you. I'm         21      removal hearing, too.
       22      sorry.                                                     22            MS. GORDON: Are you directing him to any part of
       23          MS. BALIAN: It's okay.                                 23      this document in particular or just the whole thing?
       24          MS. GORDON: You're reading something and --            24            MS. BALIAN: I'm just asking him if he recognizes
       25   BY MS. BALIAN:                                                25      it.


                                                               Page 58                                                        Page 60
        1   Q. I'll find it for you.                                       1         MS. GORDON: Do you know what that is?
        2          It's on page 6.                                         2   A. Yes, I do.
        3          MS. GORDON: Page 6.                                     3   BY MS. BALIAN:
        4          Okay.                                                   4   Q. Okay. And if you look at -- let me just see -- find it.
        5   BY MS. BALIAN:                                                 5         The third portion down, sent at April 14th at
        6   Q. Specifically it was charged that on May 10th, 2016 at       6      11:53.
        7      the Public Safety Commission meeting that you provided      7         Do you see that part?
        8      the following information regarding the central 911         8         So, if you want to look where my finger is
        9      system.                                                     9      pointing?
       10              "The installation of Melvindale's new              10   A. Okay.
       11          911 dispatch has been delayed due to our               11   Q. Mr. Heck e-mails you and says:
       12          discussions with Dearborn regarding a                  12              "Let me know if something actually happens.
       13          Central Dispatch. In fact, the new equipment           13         I don't want to delay install of your equipment
       14          should have been installed in December 2015.           14         but if you're not going to be able to utilize
       15              The Melvindale Police Department was               15         it, it would be a waste. I reached out to
       16          put on the back burner and has effectively             16         Dearborn Heights and Dearborn to offer 911
       17          been taken off the list due to Melvindale's            17         services to them as well. If you would like to
       18          discussions with Dearborn regarding a Central          18         mention it at one of your meetings, please feel
       19          Dispatch."                                             19         free."
       20          At the removal hearing, you defended this charge       20         And then you follow-up with him at the next e-mail
       21      claiming that Mr. Heck was untruthful in saying that       21      and say:
       22      there has not been a delay in the 911 upgrade due to any   22              "Do you want to speak at our next meeting?
       23      discussions with Dearborn regarding central dispatch; is   23         I think it's April 19th."
       24      that correct?                                              24         And then he e-mails you again at 6:15 p.m. saying:
       25   A. I believe that's what he said.                             25              "Not necessary. I probably should wait




                                                                                                              Pages 57 to 60
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                              PageID.587                    Page 18 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                    Page 61                                                                Page 63
        1          to install Melvindale's equipment until closer              1   Q. Do you know that?
        2          to the end just to avoid having to remove it                2   A. I don't believe there was an actual date, but it's my
        3          right after."                                               3      understanding in speaking with Mr. Heck they were going
        4          Is that a correct recitation of the e-mail exchange         4      to do some of the smaller cities first, which would have
        5      between the two of you?                                         5      included Melvindale, and do the bigger cities at the end
        6   A. It is.                                                          6      so they could iron out the technical issues that they
        7         You forgot the last two sentences of the original            7      were having.
        8      e-mail from Bob.                                                8   Q. So, you don't know that Melvindale ever had a date;
        9   Q. "Dearborn Heights and --" I just didn't think it was            9      correct?
       10      relevant.                                                      10   A. I don't -- I don't have that information, no.
       11   A. Correct.                                                       11   Q. Okay. So, if you don't know if they ever had a date,
       12   Q. I didn't read it.                                              12      you don't know that they were ever delayed; correct?
       13          Okay. So, would you agree with me that Mr. Heck            13   A. No. Bob said he didn't want to delay the install if we
       14      was trying to get the scheduling down for the installs         14      weren't going to use it.
       15      of the equipment?                                              15   Q. He didn't want to delay it. Right.
       16   A. I'm not sure what he was doing.                                16          So, my question to you was, you don't know that
       17   Q. You have no idea if he was scheduling the installs?            17      Melvindale ever had a date; correct?
       18   A. They were not scheduling the installs. They had some           18   A. No, I do not.
       19      technical issues they were trying to iron out.                 19   Q. Okay. And at no point did Mr. Heck tell you that they
       20         I believe they had already ordered the equipment            20      were taken off the list for installation; correct?
       21      and wanted to know whether they were going to be using         21   A. Yes, he did.
       22      the equipment that was designated for Melvindale or not.       22   Q. When was that?
       23   Q. Okay. Melvindale didn't have a scheduled date for              23   A. He said they moved us to the back of the line.
       24      install as of the time that you were e-mailing with him        24         That's why I said it was on the back burner
       25      on April 14th; correct?                                        25      because, like I said, he was going to do the smaller



                                                                    Page 62                                                                Page 64
        1   A. Not to my knowledge, no.                                        1      cities first, which would have included Melvindale, but
        2   Q. And he was trying to obtain a date with you. Is that            2      because of Melvindale's ongoing discussions with
        3       fair to say?                                                   3      Dearborn, they moved it back because he didn't want to
        4   A. No, it's not.                                                   4      have to put the equipment in and take it out. That's
        5   Q. Why not?                                                        5      what his last e-mail was.
        6   A. I -- you'd have to ask him.                                     6   Q. My question says -- my question was, at no point did he
        7   Q. Well, that's -- isn't that what he's trying to do with          7      tell you they were taken off the list for installation?
        8       you in this e-mail?                                            8   A. Off the list, no. He did not.
        9   A. No.                                                             9   Q. Okay. And you were -- when you were asked the question
       10   Q. (Reading.)                                                     10      about whether you told the Public Safety Commission that
       11               "I probably should wait to install                    11      Melvindale was taken off the list at the removal
       12           Melvindale's equipment until closer to the                12      hearing, your answer was, you don't recall.
       13           end --"                                                   13          Is that still your answer? You don't recall
       14           So, he's putting Melvindale at the end; right?            14      whether you told the Public Safety Commission that?
       15   A. Yes.                                                           15   A. I don't know if Melvindale had a date to install the
       16   Q. Okay. He didn't say he delayed it at all; correct?             16      equipment based on my conversations with Bob in the
       17   A. Well, yes. If you're putting it closer to the end, then        17      e-mails that he was going to move Melvindale back in
       18       you're delaying it.                                           18      line and do it later.
       19   Q. Who's to say it was ever at the beginning?                     19   Q. That wasn't my question.
       20           MS. GORDON: Are you arguing with the witness now?         20          My question was, do you recall telling the Public
       21           MS. BALIAN: I'm asking him.                               21      Safety Commission that Melvindale was taken off the
       22   BY MS. BALIAN:                                                    22      list?
       23   Q. Was it ever at the beginning? Did it ever have a date          23   A. No. I don't believe that's what I said.
       24       at the beginning and was put closer to the end?               24   Q. Well, your answer to that question at the removal
       25   A. I don't --                                                     25      hearing was you don't recall.




                                                                                                                       Pages 61 to 64
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                           PageID.588                   Page 19 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                 Page 65                                                              Page 67
        1          MS. GORDON: Well, are we just supposed to take           1            MS. GORDON: Okay. That is going to likely elicit
        2      your word for it or do you want to show him something?       2       what he learned in talking to attorneys.
        3          MS. BALIAN: You have the video -- or you have            3            So, only after you do that do you then make a
        4      the --                                                       4       decision. So, I'm going to instruct him not to answer.
        5          MS. GORDON: Well, I'm not the one asking the             5   BY MS. BALIAN:
        6      questions, Melinda.                                          6   Q. Did your decision not to have an attorney present have
        7          MS. BALIAN: Okay. Well, listen to it.                    7       anything to do with you talking to an attorney?
        8          MS. GORDON: So, you can ask him what he said, but        8   A. What now?
        9      for you to say something from a transcript is a little       9          Did my decision --
       10      different.                                                  10   Q. Not to have an attorney represent you at your removal
       11   BY MS. BALIAN:                                                 11       hearing have anything to do with your discussion with an
       12   Q. So, if you told the -- if you told the city council that    12       attorney?
       13      at the removal hearing, that you don't recall, and          13   A. No. I don't think so.
       14      that's the evidence that they have before them, then        14   Q. Then why didn't you have an attorney?
       15      they can weigh that evidence one way or another. Do you     15            MS. GORDON: Is he required to pay money out of his
       16      agree with that?                                            16       pocket to come to --
       17          MS. GORDON: Okay. Now you're just arguing your          17            MS. BALIAN: He can answer the question, Deb. He
       18      case. We really don't want to waste our time with that.     18       already said it had nothing to do with a conversation
       19   BY MS. BALIAN:                                                 19       with an attorney.
       20   Q. Do you understand that?                                     20            MS. GORDON: You're --
       21   A. No, I don't -- I don't know what you're talk- -- I don't    21            MS. BALIAN: So, I would like to know why he chose
       22      know what you mean by your question.                        22       not to.
       23   Q. So, if your answer at the removal hearing to the            23            MS. GORDON: There's an assumption in your question
       24      question of whether you told the Public Safety that         24       that he should have an attorney.
       25      Melvindale was taken off the list for installation was      25            MS. BALIAN: No, there's not. I'm just wondering


                                                                 Page 66                                                              Page 68
        1       "I don't recall," then the Public -- then the city          1      why he didn't. He did at his 2012 one, and he chose not
        2       council can hear that and either say, well, he could        2      to at this one. So, I'd like to know why.
        3       have told them, or maybe he didn't tell them because he     3         MS. GORDON: You can answer.
        4       doesn't recall.                                             4   A. I thought it was important that I had a public hearing
        5           Do you understand that that's how they're going to      5      so that the citizens of the City could see how the City
        6       accept that evidence?                                       6      was using their tax dollars. And I didn't think it
        7   A. No.                                                          7      mattered what was going to be said at the hearing
        8   Q. Why don't you understand that?                               8      because the City had already made up their mind they
        9   A. I just don't.                                                9      were terminating me.
       10   Q. You chose not to have an attorney with you at your          10   BY MS. BALIAN:
       11       removal hearing on the 29th and 30th; correct?             11   Q. Why do you believe the city made up their mind?
       12   A. I did.                                                      12   A. It's my opinion.
       13   Q. What?                                                       13   Q. Do you have any evidence to support that opinion?
       14   A. I did.                                                      14   A. Yes.
       15   Q. Why?                                                        15   Q. What?
       16           MS. GORDON: Don't answer.                              16   A. I think if you look back at the questions that were
       17           It could involved attorney/client privilege.           17      asked of me and some of the information elicited from
       18   BY MS. BALIAN:                                                 18      your witnesses, it had nothing to do with those charges.
       19   Q. Did you speak with an attorney?                             19   Q. Do you have specific questions you're thinking of?
       20   A. I spoke with several.                                       20   A. No.
       21   Q. Did you make a decision yourself not to have counsel?       21   Q. Do you recall Mr. Heck testifying at the removal hearing
       22           MS. GORDON: Don't answer.                              22      that Melvindale --the comment that Melvindale had been
       23           MS. BALIAN: I'm not asking if it's based upon a        23      taken off the list for installation was false and that
       24       conversation. I'm asking if he made the decision           24      there was no truth to that comment?
       25       himself.                                                   25   A. Yes, he did testify to that.




                                                                                                                   Pages 65 to 68
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                                 PageID.589                   Page 20 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                      Page 69                                                               Page 71
        1   Q. At no point during the hearing did you argue that either          1       pointing to.
        2      Charge 1 or Charge 2 were fictitious in any way, did              2           If you want him to reference it --
        3      you?                                                              3   BY MS. BALIAN:
        4   A. I believe regarding Charge 1, I argued that the evidence          4   Q. Bates stamp 2547, that I already asked you about and
        5      was fabricated.                                                   5       that you already admitted to posting on behalf of the
        6   Q. You did?                                                          6       Melvindale Police Department, and you agreed that you
        7   A. Yes.                                                              7       did not have permission to post, "The 'merger' could
        8   Q. So, if you did, then that should show up in the                   8       have a drastic affect on the operations of our police
        9      recording of the hearing; right?                                  9       department," by the Public Safety Commission or city
       10   A. Absolutely.                                                      10       council; correct?
       11   Q. Okay. Who do you think fabricated -- how was it                  11   A. Correct.
       12      fabricated?                                                      12           That's not the example that's in the charge.
       13   A. The postings made on the closed Melvindale It Takes A            13   Q. And you posted your own personal opinion that the
       14      Village Facebook Group were attributed to Melvindale             14       taxpayers could be getting the shaft; correct?
       15      Police Department Facebook Group. They manufactured the          15   A. No. That's a fact.
       16      evidence. Things that I said under one posting, they             16   Q. Okay. Well --
       17      put under another. They made it up.                              17           MS. GORDON: It's a fact --
       18   Q. You understand that the charge was that you posted               18   BY MS. BALIAN:
       19      opposition and personal and political commentary on              19   Q. In your --
       20      Facebook social media, including the web page?                   20           MS. GORDON: It's a fact that the taxpayers were
       21         So, it wasn't just strictly the Melvindale Police             21       getting the shaft, not the question?
       22      Department?                                                      22   A. It's the fact -- the fact is they could be getting the
       23   A. But that's how they made it look.                                23       shaft. I didn't say they would be getting.
       24   Q. But if you read the charge, sir, on Bates page 360 --            24           MS. GORDON: Okay. All right.
       25   A. The charge says misuse of Melvindale Police Department           25   BY MS. BALIAN:


                                                                      Page 70                                                               Page 72
        1      social media.                                                     1   Q. Okay. And when you were asked about those things
        2         I didn't post this comment on Melvindale social                2      before, about the post of the taxpayers getting the
        3      media. I posted that on Melvindale It Takes A Village.            3      shaft, about who posted it, by the Public Safety
        4         So, I did not misuse the City of Melvindale Police             4      Commission, do you recall telling them you couldn't
        5      Department's Facebook page for that.                              5      remember?
        6   Q. Okay. I'm not going to rehash what we've already gone             6   A. No, I don't recall that. I believe what I said to them
        7      over.                                                             7      was that a number of officers had access to the Facebook
        8          If you look at Page 1:                                        8      page, and I would have to check to verify who posted
        9              "-- posted his opposition and personal                    9      that information.
       10          and political commentary upon Facebook.com                   10   Q. Did you not have any memory of making the comment?
       11          social media web page, including Melvindale                  11   A. I wanted to ensure that I was saying what I did and not
       12          Police Department."                                          12      somebody else; make sure it had not been edited or
       13          MS. GORDON: What's your question?                            13      posted by somebody else.
       14   BY MS. BALIAN:                                                      14   Q. But then you came back the following day saying, "Oh,
       15   Q. So, do you understand that it was not exclusive?                 15      yeah, it was me"?
       16   A. It is when the count is "Misuse of the Melvindale Police         16   A. Because I had the opportunity to check, yes.
       17      Department's Social Media," and then you showed samples          17   Q. And the Public Safety Commission thought you were not
       18      that are not on Melvindale Police Department social              18      being truthful in your answers; correct?
       19      media.                                                           19   A. I don't know what they thought.
       20   Q. On behalf of the Melvindale Police Department --                 20   Q. Well, they put it in writing in a charge against you.
       21          MS. GORDON: Your pointing at something.                      21          So, is it fair to say they felt you were not being
       22          You want that to be part of the record, or what are          22      truthful?
       23      you doing?                                                       23   A. The Public Safety Commission didn't do any charges
       24          MS. BALIAN: It is part of the record.                        24      against me.
       25          MS. GORDON: The record doesn't know what you're              25   Q. I'm sorry.




                                                                                                                        Pages 69 to 72
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                              PageID.590               Page 21 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                   Page 73                                                          Page 75
        1          Well, the city council put it in a charge against          1   A. No, it does not.
        2       you that they believed you were not being truthful --         2   Q. And that's when you admitted being the individual
        3          MS. GORDON: Okay. But you didn't ask about the --          3       responsible?
        4   BY MS. BALIAN:                                                    4   A. I don't recall the order of the meetings.
        5   Q. -- to the Public Safety Commission?                            5   Q. Do you agree that under the Rules and Regulations, you
        6          MS. GORDON: -- city council.                               6       have a responsibility to be truthful at all times,
        7          THE REPORTER: Excuse me.                                   7       whether under oath or not?
        8          MS. GORDON: You didn't ask about the city council.         8   A. I believe it says that, yes.
        9       You asked him what did the Public Service Commission --       9   Q. Do you agree that that was your responsibility as chief
       10       Safety Commission say.                                       10       of police?
       11   BY MS. BALIAN:                                                   11   A. Yes.
       12   Q. That you were not being truthful --                           12   Q. When you were a police officer, whether on the road or
       13          MS. GORDON: He answered that question.                    13       otherwise, did you enforce the laws without
       14          THE REPORTER: I'm sorry. One at a time, please.           14       discrimination?
       15   BY MS. BALIAN:                                                   15   A. I believe so.
       16   Q. That you were not being truthful to the Public Safety         16   Q. And as an officer, do you understand that it's unlawful
       17       Commission, that was the charge against you; correct?        17       to enforce the laws in a discriminatory manner?
       18   A. No. The charge is lying to the mayor and city council.        18   A. I would agree with that.
       19      Not the Public Safety Commission.                             19   Q. When you were the Melvindale police chief, did you
       20   Q. You were asked about it by the Public Safety Commission;      20       believe it was important that the officers under your
       21       correct?                                                     21       command enforce the laws without discrimination?
       22   A. I was.                                                        22   A. Yes.
       23   Q. Okay. And when you were asked about it, did you tell          23              (Deposition Exhibit 8 marked
       24       them it was you that made the post?                          24              for identification.)
       25          MS. GORDON: This has been covered.                        25   BY MS. BALIAN:


                                                                   Page 74                                                          Page 76
        1   BY MS. BALIAN:                                                    1   Q. I'm showing you what has been marked as Exhibit Number
        2   Q. You can answer.                                                2      8.
        3          MS. GORDON: Which day? The first day or second             3           Do you recall issuing this to Corporal Matthew
        4      day?                                                           4      Furman?
        5          MS. BALIAN: The first time.                                5   A. I do.
        6          MS. GORDON: Asked and answered.                            6   Q. And the date of this is April 26th of 2016; correct?
        7          Go ahead. You can answer it again.                         7   A. Yeah, appears to be.
        8   A. The Public Safety Commission did ask me about the              8   Q. And you testified at the removal hearing that you issued
        9      posting, yes. And I told them I would have to look to          9      this to Matthew Furman; correct?
       10      see if I made the posting.                                    10   A. I believe so.
       11   BY MS. BALIAN:                                                   11   Q. And this is pertaining to Charge 3 of your Amended
       12   Q. Is that how you answered, "I'll have to look to see if I      12      Complaint for Removal which was the charge of willful
       13      made the post"?                                               13      misconduct in office upon the usage of towing services
       14   A. I don't recall.                                               14      necessary for the proper enforcement of the Uniform
       15   Q. Did you tell them you had no knowledge about who made         15      Traffic Code.
       16      the post?                                                     16           Under the Rules and Regulations, this is considered
       17   A. Who?                                                          17      a special order to an officer.
       18   Q. City council at the workshop on June 13th.                    18           Would you agree with that?
       19   A. I would have to check the dates of the council and the        19   A. No, I would not.
       20      Public Safety Commission meetings. I don't know off the       20   Q. Why is that?
       21      top of my head.                                               21   A. This communication came out as a result of a
       22   Q. And then on the following day on June 14th, you were          22      disciplinary issue with Corporal Furman.
       23      publicly questioned about it at the Public Safety             23   Q. Okay. And I know that you testified to that at the
       24      Commission.                                                   24      removal hearing.
       25          Does that refresh your memory?                            25           And you called -- I can't remember the name.




                                                                                                                  Pages 73 to 76
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                             PageID.591                  Page 22 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                    Page 77                                                            Page 79
        1          Was it John Thompson? Was that the name of the              1   Q. What statute are you aware of under the Uniform Traffic
        2      witness that you called at the removal hearing who was          2       Code that makes a driver's gender and age a factor for
        3      Mr. Furman's union representative?                              3       an officer to consider when determining to tow or
        4   A. I believe Thompson was one of the representatives. I            4       impound a vehicle?
        5      believe he was called.                                          5           MS. GORDON: Well, you're assuming facts not in
        6   Q. And you called him as a witness; correct?                       6       evidence in this case, and you've laid no foundation
        7   A. I don't believe so. I believe Councilman Marsee wanted          7       that that's the reason this memo was issued; that it has
        8      to hear from some of the union representatives because          8       anything to do with the Uniform Traffic Code.
        9      of his union affiliation.                                       9   BY MS. BALIAN:
       10   Q. And Mr. Thompson testified that nowhere on this document       10   Q. You can answer the question.
       11      is it indicated that it's issued as part of a resolution       11   A. I'm not aware of a statute.
       12      or a union document; correct?                                  12   Q. You're not aware of any statute which makes a driver's
       13   A. Are you asking if it says that or if he said it?               13       gender and age a factor when determining when to tow or
       14   Q. If he said it.                                                 14       impound a vehicle?
       15   A. I believe he said that it did not have anything --             15           MS. GORDON: You're talking about the Motor Vehicle
       16      didn't list that it was part -- as part of a union issue       16       Act is what you're talking about; correct?
       17      or disciplinary issue.                                         17           MS. BALIAN: I'm talking about the Uniform Traffic
       18   Q. But he testified it's something that you wanted to do as       18       Code.
       19      it related to Mr. -- or Officer Furman rather?                 19           MS. GORDON: Right.
       20          MS. GORDON: Why are we asking this witness what            20   A. Correct.
       21      somebody else testified to? It's just hearsay that he          21            (Discussion held off the record.)
       22      can't respond to.                                              22   BY MS. BALIAN:
       23   BY MS. BALIAN:                                                    23   Q. So, do you understand that this document required not
       24   Q. Do you recall him testifying to that?                          24       only Furman, but the desk officers to make decisions
       25   A. I believe so.                                                  25       about the towing of vehicles based upon the gender and


                                                                    Page 78                                                            Page 80
        1           There were other issues at that meeting. I don't           1      age of the drivers?
        2      think we were allowed to get into those because they            2   A. That's not what it says.
        3      were disciplinary in nature.                                    3   Q. It doesn't -- it makes Furman call in the driver's
        4   Q. And you would agree that nowhere on this document does          4      gender and age; correct?
        5       it have any sort of union insignia or anything that it         5   A. Among other things, yes.
        6       indicates that it has anything to do with a resolution         6   Q. Okay. So, those factors were to be considered by
        7       or anything having to do even with Mr. Furman's                7      Furman; correct?
        8       discipline?                                                    8   A. The totality of the circumstances was to be considered
        9           MS. GORDON: Well, it's to Corporal Furman.                 9      by Furman, and --
       10           Other than that, we agree the document speaks for         10   Q. Okay. Are those --
       11       itself.                                                       11   A. -- that's why I put that in.
       12   BY MS. BALIAN:                                                    12   Q. -- two factors that --
       13   Q. Do you agree with that, Mr. Hayse?                             13          MS. GORDON: Wait a second.
       14   A. It does not have any union logo or resolution on it.           14          Did you finish?
       15      Correct.                                                       15   BY MS. BALIAN:
       16   Q. And you would agree that this directive requires Officer       16   Q. Were those two factors to be considered by Furman?
       17       Furman, if -- before he is going to tow a vehicle, to         17          MS. GORDON: Let him finish his answer, Melinda.
       18       call in to a desk officer to identify the conditions          18          Did you answer?
       19       which merit towing, including the driver's gender and         19   A. No.
       20       age; correct?                                                 20          MS. GORDON: Okay. Go ahead.
       21           MS. GORDON: We've already agreed it says what it          21          MS. BALIAN: I'm going to change my question.
       22       says.                                                         22          MS. GORDON: No, you --
       23           You can go ahead and answer, Chad.                        23   BY MS. BALIAN:
       24   A. Among other things, yes.                                       24   Q. Were those two factors to be considered by Furman?
       25   BY MS. BALIAN:                                                    25          MS. BALIAN: Strike the last question.




                                                                                                                    Pages 77 to 80
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                               PageID.592                 Page 23 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                 Page 81                                                                Page 83
        1   BY MS. BALIAN:                                                  1         MS. GORDON: See? You cut him off.
        2   Q. Were those two factors to be considered by Furman?           2         Go ahead, Chad.
        3   A. The driver gender and age?                                   3         MS. BALIAN: I wasn't even talking, Deb. I wasn't
        4   Q. Yes.                                                         4      cutting him off.
        5   A. Yes, they were.                                              5         MS. GORDON: Go ahead.
        6   Q. Okay. And he was calling in -- he had to call in to the      6         You said, "This information --"
        7      desk officer according to this memo; correct?                7         Go ahead.
        8   A. Yes.                                                         8   A. This information was negotiated with Corporal Furman and
        9   Q. And he had to relay those two factors, in addition to        9      with at least two of his union representatives at the
       10      others, to the desk officer; correct?                       10      time, in consultation with the City psychologist who has
       11   A. Yes.                                                        11      seen Corporal Furman and recommended that I take this
       12   Q. So, then the desk officer has to consider the gender and    12      action to assist Corporal Furman into thinking about the
       13      age in addition, correct, to the other factors?             13      entire traffic stop, not one portion of the stop.
       14   A. Yes.                                                        14         I wanted him to think of everything before he made
       15   Q. Okay. So, you've got Furman and now another person          15      a decision, and he wasn't doing that.
       16      considering the gender and age; correct?                    16         THE REPORTER: I'm sorry. "Was" or "was not"?
       17   A. Yes.                                                        17   A. He was not doing that.
       18   Q. Okay. How many desk officers were there?                    18   BY MS. BALIAN:
       19   A. There were six supervisors assigned to the desk on          19   Q. Do you recall John Thompson testifying at your removal
       20      various shifts, and there could be any number of            20      hearing that he was not aware of any evidence that
       21      officers that were relieving or assisting each of those     21      Furman discriminated against citizens based upon gender
       22      supervisors based on which shift was ongoing.               22      and age?
       23   Q. So, what does "any number of officers" mean?                23   A. I believe he said that.
       24          How many is that?                                       24   Q. And you testified at your removal hearing that you did
       25   A. It's a 21-man department. It could include up to 21.        25      not share Exhibit 8 with the mayor or city council prior



                                                                 Page 82                                                                Page 84
        1   Q. Oh. So, you have potentially the entire department           1        to issuing it to Furman; correct?
        2      making decisions based upon gender and age before            2    A. I believe that's correct, yes.
        3      they're towing vehicles?                                     3    Q. Nor did you seek approval from the City's attorney prior
        4         MS. GORDON: With regard to Furman? Is that what           4        to issuing it to Furman to ensure that it was legally
        5      you're saying?                                               5        proper; correct?
        6         With regard to this memo or in general?                   6    A. I did not consult the corporation counsel, no.
        7   BY MS. BALIAN:                                                  7    Q. And it was actually posted at the police department;
        8   Q. Furman is calling in the desk.                               8        correct?
        9         So, the people at the desk have to consider gender        9    A. I believe it was given to the supervisors.
       10      and age; right?                                             10    Q. And it was posted at the police department; correct?
       11   A. Among all of the totality of the circumstances from the     11    A. I'm not sure.
       12      stop, yes.                                                  12    Q. And you recall that officers testified at your hearing
       13         This information --                                      13        that they had been directed by you and Lieutenant Welch
       14   Q. There's no question pending.                                14        not to tow vehicles once Goch & Sons had been awarded
       15         MS. GORDON: You can go ahead and finish.                 15        the towing contract; correct?
       16   A. I was still finishing --                                    16    A. They did testify in that manner, yes.
       17         MS. BALIAN: No, there's not. There's not a               17    Q. And other officers testified saying that they had not
       18      question pending.                                           18        heard you or Lieutenant Welch say that; correct?
       19         MS. GORDON: Okay. We're going to stop the dep if         19    A. Some of them were allowed to testify, yes.
       20      you're not going to let him answer the questions.           20    Q. Other officers testified to that; correct?
       21         MS. BALIAN: There's no question.                         21    A. Some of them.
       22         MS. GORDON: He was continuing his answer.                22           Not all the ones that I wanted to call.
       23         Read back his last answer, John, please.                 23    Q. And you agree that under the Rules and Regulations,
       24         THE REPORTER: One second, please.                        24        you're not to issue any orders that violate the laws or
       25          (Record repeated by the reporter.)                      25        ordinances; correct?




                                                                                                                    Pages 81 to 84
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                         PageID.593                    Page 24 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                Page 85                                                            Page 87
        1   A. I believe so.                                               1   BY MS. BALIAN:
        2   Q. And you also agree that officers, under the Rules and       2   Q. Say that again?
        3      Regulations, are not required to obey an order which is     3   A. I said this is the procedure listed under "Executive
        4      contrary to federal or state law, or local ordinance;       4      Order."
        5      correct?                                                    5   Q. My question was, do you agree you were to follow this
        6   A. Yes.                                                        6      when disciplining employees?
        7   Q. You called Mike Welch on your behalf; right?                7   A. Yes.
        8   A. I believe so. I did, yes.                                   8   Q. And you testified at your removal hearing that you have
        9   Q. Don Meador?                                                 9      followed this procedure in the past when disciplining
       10   A. Meador.                                                    10      employees; correct?
       11            Yes.                                                 11   A. Yes. I believe I did.
       12   Q. Dan Jones?                                                 12   Q. And you suspended Officer Furman sometime around
       13   A. I believe so.                                              13      July 3rd of 2016 with pay; correct?
       14   Q. And Chad Detrich?                                          14   A. I don't recall the exact date, but it sounds correct.
       15   A. I believe so.                                              15   Q. And you testified that sometime around July 28th, you
       16   Q. Do you recall calling anybody else?                        16      suspended him without pay? July 28th of '16; correct?
       17   A. I don't think so.                                          17   A. I believe so, yes.
       18             (Discussion held off the record.)                   18   Q. And you admitted at your hearing that you did not
       19               (Deposition Exhibit 9 marked                      19      provide him with written notification at any time of why
       20               for identification.)                              20      you suspended him; correct?
       21            MS. BALIAN: Give me one second, please.              21   A. I don't recall if that's how I testified.
       22   BY MS. BALIAN:                                                22         I did provide him a document when he was suspended
       23   Q. Mr. Hayse, we talked about this a little bit earlier.      23      with pay.
       24            Do you recognize this as "Executive Order 05-01"?    24   Q. The document saying "You're suspended"?
       25   A. I thought there was another page to it, but I believe      25   A. Essentially, yes.



                                                                Page 86                                                            Page 88
        1      so.                                                         1   Q. It didn't provide him any notification about why he was
        2            MS. GORDON: Yeah. In fact, the document does say,     2      suspended, though; correct?
        3      on the second page, "Page 3 of 4."                          3   A. I don't remember.
        4            MS. BALIAN: Well, hold on.                            4   Q. Furman was not given an opportunity to present his side
        5            MS. GORDON: And there's only two pages.               5      of the story at any hearing; correct?
        6            MS. BALIAN: Why don't we take a break --              6   A. He was provided an opportunity to provide his side of
        7            MS. GORDON: It looks like we're missing two pages.    7      the story to myself and his union representatives.
        8            MS. BALIAN: -- and I'll get the full documents so     8          We did not have a hearing as I was waiting for
        9      the record is clear.                                        9      legal advice from corporation counsel.
       10            MS. GORDON: Okay.                                    10   Q. I understand that that was your defense to this at the
       11              (Discussion held off the record.)                  11      removal hearing; however, it's my understanding that if
       12               (Deposition Exhibit 9 re-marked                   12      that was the case, you chose to suspend Officer Furman
       13               for identification.)                              13      prior to receiving any legal advice; is that correct?
       14            MS. GORDON: You've got a copier problem. Hard to     14   A. Yes.
       15      read. Very hard to read.                                   15   Q. And you chose to suspend Officer Furman the first time
       16   BY MS. BALIAN:                                                16      with pay and the second time without pay without
       17   Q. Okay. Now, do you recognize this as Executive Order        17      receiving any legal advice; correct?
       18      05-01?                                                     18   A. I did not receive any legal advice.
       19   A. I believe it is.                                           19          I did notify the head of the Public Safety
       20   Q. And do you agree that you were to follow this procedure    20      Commission. I notified the mayor. I notified
       21      when disciplining employees?                               21      corporation counsel.
       22            MS. GORDON: This has been asked and answered.        22          I believe there's one other person.
       23            But go ahead.                                        23          Mayor, city administrator, corporation counsel,
       24   A. This is the -- one procedure from the Executive Order,     24      head of the Public Safety Commission.
       25      yes.                                                       25   Q. And Officer Furman testified at the removal hearing that




                                                                                                                 Pages 85 to 88
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                              PageID.594                  Page 25 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                   Page 89                                                              Page 91
        1      he believed you were retaliating against him for               1      against him and the disciplinary action which is being
        2      disregarding the April 26th, 2016 order regarding towing       2      considered; correct?
        3      vehicles, didn't he?                                           3   A. That would be correct.
        4   A. I'm not sure.                                                  4   Q. And:
        5   Q. You're "not sure," meaning you don't remember?                 5              "A hearing conducted by the departmental
        6   A. I don't remember if that's what he testified to.               6         supervisor at which the employer's evidence
        7   Q. Do you remember if he testified that the retaliation           7         is explained and the employee/appointee is
        8      toward him from you dates back to when you ordered him         8         afforded an opportunity to present his side
        9      to illegally tow vehicles in the snowgate incident?            9         of the story."
       10   A. I did not order him to tow vehicles regarding the snow        10         Correct?
       11      emergency.                                                    11   A. We actually did have a meeting with Corporal Furman
       12         I don't recall if that's how he testified or not.          12      regarding the suspension.
       13   Q. If you turn to page 12, Bates stamp page 12 of this           13   Q. Okay. When was that?
       14      document which is Exhibit 9, under "Due Process               14   A. It would have been in July.
       15      Requirements to Disciplining Employees --" I guess first      15         I don't recall the date.
       16      I should ask, Officer Furman was covered by the union         16   Q. And who was present?
       17      contract; correct?                                            17   A. Corporal Furman would have been there with a union rep.
       18   A. The police officers' -- Melvindale Police Officers'           18         I don't remember which one it was.
       19      Association contract, yes.                                    19         I don't recall if there was somebody else in the
       20   Q. So, corporals and sergeants are covered by the Police         20      room or not.
       21      Officers' Association contract?                               21   Q. Where was it?
       22   A. No.                                                           22   A. My office.
       23            (Discussion held off the record.)                       23   Q. And was that before or after he was suspended?
       24         MS. BALIAN: Command officers contract.                     24   A. It would have been -- there were two issues going on
       25   BY MS. BALIAN:                                                   25      with him simultaneously.



                                                                   Page 90                                                              Page 92
        1   Q. So, corporals and sergeants are covered by what                1         It would have been prior to the suspension with
        2      contract?                                                      2      pay; it would be after the suspension with pay. The two
        3   A. They're covered by separate contracts.                         3      issues he had overlapped.
        4   Q. Okay. So, state who's covered by which contract.               4         So, we discussed each issue in separate meetings.
        5   A. Officers and corporals are covered by the Melvindale           5   Q. Okay. What were the two issues?
        6      Police Officers' Association contract, and sergeants and       6   A. The two issues were Corporal Furman assaulting prisoners
        7      lieutenants are covered under the Melvindale Police            7      two separate times.
        8      Supervisors' Association contract.                             8   Q. Two separate times.
        9   Q. Okay. So, at the time you suspended Corporal Furman, he        9         And you're saying you received two complaints?
       10      was covered by the POAM contract?                             10   A. Yes.
       11   A. POAM is their union rep.                                      11   Q. And what were the two complaints?
       12         It's MPOA, yes.                                            12   A. That Corporal Furman assaulted --
       13   Q. MPOA. Sorry. Too many acronyms.                               13   Q. Involving who?
       14         So, at the time that he was suspended, do you agree        14   A. Corporal Furman.
       15      that you needed to follow Section IV of this Executive        15   Q. What prisoners?
       16      Order?                                                        16   A. Oh, I don't recall their names.
       17   A. Was that for the with pay suspension or without pay           17   Q. But there would be a record of those?
       18      suspension?                                                   18   A. Yes.
       19   Q. Well, it says:                                                19          (Discussion held off the record.)
       20               "Prior to disciplinary action which will             20         MR. COOGAN: Let's talk for a minute outside.
       21         result in a loss of pay, such as demotions,                21         MS. BALIAN: Yeah.
       22         suspension or termination."                                22         Let's take a short break.
       23         So, when you suspended him without pay.                    23             (Short recess at 11:59 a.m.)
       24   A. Yes.                                                          24                    * * *
       25   Q. So, that would include a written notice of the charges        25             (Record resumed at 12:17 p.m.)




                                                                                                                     Pages 89 to 92
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                        PageID.595                 Page 26 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                Page 93                                                          Page 95
        1   BY MS. BALIAN:                                                 1   A. 23.
        2   Q. If you can refer to Exhibit 9 again?                        2   Q. And this is pertaining to Count 5, which is the "Willful
        3   A. Okay.                                                       3      Misconduct in Office by the Usage of Profanity,
        4   Q. And if you go to Bates stamp number 14, you agree that      4      Vulgarity and Slanderous Statements Directed Towards
        5      when you suspended Corporal Furman in July, you did not     5      Elected and Appointed Public Officials."
        6      complete this page; correct?                                6          Now, you would agree that the City presented
        7   A. For which suspension?                                       7      witnesses who testified that they had heard you refer to
        8   Q. In July of 2016.                                            8      the mayor in a variety of disparaging terms; correct?
        9   A. Well, I believe one was with pay and one was without        9   A. Correct.
       10      pay.                                                       10   Q. And would you agree that those witnesses were officers
       11   Q. Either one of them.                                        11      Furman, Easton and Kennaley?
       12   A. I don't know if I gave him the form.                       12   A. Yes.
       13          I believe I completed some of this form.               13   Q. And the testimony -- a summary of the testimony of those
       14   Q. Did you complete the form and put it in his personnel      14      officers included that you referred to the mayor as
       15      file?                                                      15      "corrupt," "a bitch," "stupid," "a stupid bitch," and
       16   A. No. I was waiting for advice of corporation counsel.       16      that she was sleeping with Mike Goch and other similar
       17   Q. But when you suspended him in March of 2016, you           17      testimony.
       18      completed the form and had it placed in his personnel      18          Would you agree with that?
       19      file; correct?                                             19   A. I believe that's what they testified to, yes.
       20   A. I don't know if I suspended him in March or not.           20   Q. And there was also testimony from officers that you
       21   Q. You don't remember suspending him in March?                21      referred to the Melvindale City Council as corrupt and
       22          MS. GORDON: He doesn't remember the date.              22      on the take; correct?
       23   BY MS. BALIAN:                                                23   A. I don't recall that testimony but it's possible.
       24   Q. Okay. So, did you suspend Corporal Furman earlier that     24   Q. And you presented testimony, through yourself and other
       25      year?                                                      25      officers, that you had not made such statements;


                                                                Page 94                                                          Page 96
        1   A. Yes.                                                        1      correct?
        2   Q. And you had the form completed and signed it and had it     2   A. Some of the officers, yes.
        3      put in his personnel file; correct?                         3          I was not allowed to call all of them.
        4   A. I believe so, yes.                                          4   Q. But you did present some officers; correct?
        5   Q. So, you've testified here today that you were prevented     5   A. A couple, yes.
        6      from calling all of the witnesses that you wanted to        6   Q. And as I recall, those officers were -- I think we went
        7      call at your removal hearing.                               7      over them earlier -- Officer Welch, right, and Detrich?
        8          Did you put an objection on the record saying you       8      Is that correct?
        9      were not -- you're rejecting because you weren't able to    9   A. I believe so.
       10      call all the witness you wanted to call?                   10   Q. And Meador and Jones; is that correct?
       11   A. Yes.                                                       11   A. I believe I called them.
       12   Q. When did you do that? On the first day or second day?      12          I don't believe I called them all for this
       13   A. I think it was probably both.                              13      particular count.
       14   Q. And --                                                     14   Q. And you agreed at the removal hearing that it was up to
       15   A. I was told they were cumulative.                           15      the city council and mayor to assess the credibility of
       16   Q. And did you do it as like one objection, or did you do     16      the witnesses and determine the weight of the evidence
       17      it like each time?                                         17      brought before them; correct?
       18   A. I believe I mentioned it several times when I was told I   18          MS. GORDON: This is an argumentative question.
       19      wouldn't be allowed to call more witnesses.                19          Go ahead, Chad.
       20   Q. But you don't recall who those witnesses were?             20   A. I'm sorry. Could you rephrase the --
       21   A. No, I do not.                                              21          MS. GORDON: Did you agree to that at the hearing.
       22   Q. If you can turn to page 23 of the Amended Complaint for    22   BY MS. BALIAN:
       23      Removal?                                                   23   Q. Did you agree at the removal hearing that it was up to
       24   A. I'm sorry. Page 2- --                                      24      the city council and mayor to assess the credibility of
       25   Q. 23.                                                        25      the witnesses that they heard and determine the weight




                                                                                                               Pages 93 to 96
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                           PageID.596                Page 27 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                               Page 97                                                              Page 99
        1      of the evidence?                                            1      a copy of that contract of Gene's Towing contract. Is
        2   A. I think so.                                                 2      that correct?
        3   Q. You agree that you did not have issue with the previous     3   A. I don't recall if they asked me for it or not.
        4      towing company, Gene's Towing, that handled the towing      4   Q. If they did, were you able to provide it to them?
        5      services for the City of Melvindale; correct?               5   A. I have -- I have no recollection of that.
        6   A. No, I did not have an issue with them.                      6   Q. And it's your allegation, correct, that there was a
        7   Q. What period of time did they handle towing for the City     7      supposed towing ticket quota started after Goch & Sons
        8      of Melvindale?                                              8      was awarded the towing contract; is that correct?
        9   A. I don't know when they started.                             9   A. Yes.
       10         I believe the City went with Goch Towing in 2015,       10   Q. You never directed any of the officers to issue a
       11      if I'm not mistaken; June of '15.                          11      predetermined or specified number of citations,
       12   Q. So, you became chief in what month of 2012?                12      including those which included towing; correct?
       13   A. June.                                                      13   A. No, I did not.
       14   Q. Was Gene's Towing there then?                              14   Q. You were the executive head of the police department;
       15   A. I believe they were.                                       15      correct?
       16   Q. Okay. What about when you were an officer?                 16   A. At what time?
       17   A. When I was a police officer, they were -- when I was a     17   Q. When you were chief of police.
       18      road officer, they were not towing for the City.           18   A. Yeah.
       19   Q. Who was?                                                   19   Q. Okay. If you didn't give an order to write a specified
       20   A. Oh, geez.                                                  20      or determined number of tickets involved towing, then
       21         There was a tow company at Pelham and Van Born. I       21      who did?
       22      don't recall their name.                                   22   A. Both police unions had various conversations with the
       23         I think the company after that was Howard's Towing.     23      mayor and the city administrator when they were
       24   Q. What? I'm sorry.                                           24      discussing contractual issues, and both of those parties
       25   A. Howard's Towing.                                           25      stated to both unions --


                                                               Page 98                                                          Page 100
        1   Q. Howard's. Okay.                                             1   Q. "Both of those parties."
        2   A. I think Gene took over from Howard's, but I'm not           2          What parties?
        3      positive.                                                   3   A. The mayor and the city administrator, that the
        4   Q. Okay. Approximate time frame you think that Gene's took     4      officers -- there was a back and forth on whether
        5      over from Howard's?                                         5      officers were going to get a raise or not, and the city
        6   A. I don't know. I would say I was probably a -- probably      6      administrator and the mayor told both union -- both
        7      a sergeant, but I don't remember.                           7      unions that the only way the officers could get a raise
        8   Q. And what time frame were you a sergeant?                    8      is if the towing remained at a certain level. And that
        9   A. I think that was in '99 when I started, when I was          9      information was relayed to me by those union reps.
       10      promoted to sergeant.                                      10   Q. And who are these union representatives?
       11   Q. Did you ever see -- hands off -- see a contract with       11   A. For the Melvindale Police Officers' Association, it
       12      Gene's Towing?                                             12      would be Thompson and Hinojosa.
       13   A. Yes.                                                       13          For the supervisors, it was -- I believe it's Dan
       14   Q. Where?                                                     14      Jones, Don Meador and Mike Welch.
       15   A. I believe it was in the city clerk's office, and I think   15   Q. Dan Jones --
       16      there was a copy in the chief's office.                    16   A. Don Meador, M-e-a-d-o-r.
       17   Q. Okay. When did you see that?                               17   Q. Yeah.
       18   A. Oh, I take that back.                                      18          And?
       19         There was -- another copy was in previous               19   A. Mike Welch.
       20      corporation counsel's office in the building. I believe    20   Q. So, you were saying, supposedly, that discussions went
       21      she had a copy of that as well.                            21       on about a raise, and if this happens then this --
       22   Q. When did you see that?                                     22          MS. GORDON: He already answered your question.
       23   A. I'm going to guess 2012 or '13. I think I was the chief    23   BY MS. BALIAN:
       24      then.                                                      24   Q. -- is that correct?
       25   Q. Okay. It's my understanding city council asked you for     25          I'm just making sure I have it correct.




                                                                                                              Pages 97 to 100
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                             PageID.597                   Page 28 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                Page 101                                                               Page 103
        1          MS. GORDON: Well, the way you repeated it, I don't       1   A. Yes.
        2      think, is exactly correct. But it is on the record;          2   Q. Okay. Where did the meetings take place?
        3      what he said. We could read it back.                         3   A. I don't know. I believe council chambers but I could be
        4          MS. BALIAN: I want to make sure it's correct.            4      incorrect.
        5   BY MS. BALIAN:                                                  5   Q. And you believe it had to do with both contracts?
        6   Q. So, if the officers want a raise, then the towing has to     6   A. I believe so.
        7      remain at this level?                                        7   Q. You never directed the Melvindale officers to make a
        8   A. I don't believe they said "this level." I believe they       8      specific number of stops per day or write a specific
        9      said a certain level.                                        9      number of tickets; right?
       10   Q. A certain level, whatever that level was.                   10   A. No, I did not.
       11          What was that level?                                    11   Q. Do you know if anybody else did?
       12   A. I don't have that information.                              12   A. I don't know.
       13   Q. When did these discussions supposedly take place?           13   Q. Do you have any evidence that anybody else did?
       14   A. I believe that would have been in 2015 and '16.             14   A. Only the comments that were made to me by the union reps
       15   Q. Do you know when in 2015, 2016?                             15      in conjunction with those negotiations they had ongoing
       16   A. No. I don't recall.                                         16      with the City.
       17          (Discussion held off the record.)                       17   Q. Okay. But that isn't evidence of whether officers were
       18   BY MS. BALIAN:                                                 18      given a directive to make a specific number of stops.
       19   Q. Which contract negotiation are you referring to?            19   A. Correct.
       20               (Outside interruption.)                            20   Q. Okay. So, do you have any evidence that officers were
       21   BY MS. BALIAN:                                                 21      given a directive to make a specific number of stops per
       22   Q. You can answer.                                             22      day?
       23   A. I believe there was a wage re-opener in one or both of      23   A. No.
       24      those contracts at the time, and I believe that's when      24   Q. Or write a specific number of tickets per day?
       25      those discussions took place.                               25   A. No.



                                                                Page 102                                                               Page 104
        1   Q. What did you -- a "wage re-opener"?                          1   Q. And you testified at the removal hearing that there was
        2   A. Yes.                                                         2       no incentive whatsoever for officers to issue towing
        3   Q. And do you recall who all was at these meetings?             3       tickets; correct?
        4   A. I was not there, so I'm not positive.                        4   A. Is that towing or tickets or --
        5   Q. Why weren't you there?                                       5   Q. You said "towing tickets."
        6         MR. COOGAN: Do you need a minute?                         6   A. I think the only incentive they would have had was in
        7         MS. GORDON: Hmm?                                          7       conjunction with their labor negotiations, but aside
        8         MR. COOGAN: Do you need a minute or --                    8       from certain numbers, I don't know.
        9         MS. GORDON: No. I'm just standing up.                     9   Q. Did you testify at the removal hearing that there was no
       10   A. I didn't think it was my place to sit in on negotiations    10       incentive whatsoever for officers to issue towing
       11      between the City and the officers. I felt that I            11       tickets?
       12      shouldn't be negotiating against the officers because I     12   A. I'm not sure if that's the exact language, no.
       13      was one of the police officers.                             13   Q. Did you testify truthfully at the removal hearing?
       14         So, I removed myself from negotiations to allow the      14   A. I did.
       15      City and the unions to negotiate the new contract, and      15   Q. You never lodged a complaint with the Public Safety
       16      if the City had any questions regarding administering       16       Commission or the city council claiming there was a
       17      our policy changes or whatever that could be affected by    17       ticket quota in the City of Melvindale, did you?
       18      the contract, then I would discuss those with the City.     18   A. No.
       19      But I didn't want to put myself between my police           19   Q. You only made that allegation after you were removed
       20      officers and the City.                                      20       from your position as the police chief; correct?
       21   BY MS. BALIAN:                                                 21   A. No.
       22   Q. Okay. So, you don't know who was at the meetings?           22   Q. Well, if you didn't make a complaint prior, then how did
       23   A. Only the people that you asked and whose names I've         23       you make a complaint?
       24      given.                                                      24   A. I told a number of the officers that the City was going
       25   Q. Because they were union representatives?                    25       to fire me if the tows didn't stay at an elevated level.




                                                                                                               Pages 101 to 104
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                          PageID.598                     Page 29 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                             Page 105                                                             Page 107
        1   Q. Okay. Who was your -- who supervised your employment at     1   Q. What did you believe they were lying about?
        2      the City of Melvindale?                                     2   A. They were lying about the alleged names that I called
        3   A. Well, I answered to the Public Safety Commission for        3      various people. They were lying about me telling them
        4      policies and rules, and the city council for                4      not to tow cars, and they were lying about why I was
        5      expenditures and purchases.                                 5      taking action or had taken action against either of them
        6   Q. Okay. Did you ever inform somebody of authority above       6      in disciplinary issues.
        7      you that you believed there was a ticket quota in the       7   Q. So, you're saying they were lying about things that were
        8      City of Melvindale?                                         8      told to them with not towing cars and names that they
        9   A. No.                                                         9      heard you call the mayor and/or city council?
       10         I didn't want to get fired.                             10   A. They --
       11   Q. And you never raised that at the removal hearing that      11          MS. GORDON: You mean -- go ahead, Chad.
       12      you believed that this was supposedly the real reason of   12   BY MS. BALIAN:
       13      why you were being removed; correct?                       13   Q. Those are the two things?
       14   A. I attempted to cross-examine some of the witnesses to      14   A. They testified that I said certain things and did
       15      their motives, which would have led to that, and I was     15      certain things, and both of them lied.
       16      not allowed to do so.                                      16   Q. I'm just trying to -- as I recall their testimony,
       17   Q. Who did you try to cross-examine on that issue?            17      they're saying they heard you say that, and you're
       18   A. Patrick Easton and Matthew Furman.                         18      saying you testified, "I did not say that."
       19   Q. You're saying you were not allowed to ask Matthew Furman   19   A. Yeah. They lied.
       20      the number of tickets he issued?                           20   Q. Okay. I understand that.
       21   A. No. I didn't say that. I just said I wasn't allowed to     21   A. Okay.
       22      ask him certain questions.                                 22   Q. All right. And then you also indicated that Easton had
       23   Q. Like what?                                                 23      a -- you had background with Easton?
       24   A. What his motive was for testifying at my hearing. I        24   A. Yes.
       25      wasn't allowed to delve into the fact that he was lying.   25   Q. And you brought that out at the hearing?


                                                             Page 106                                                             Page 108
        1      I wasn't allowed to get documents that proved that he       1   A. I tried.
        2      was lying at my hearing because the corporation counsel     2   Q. Well, I mean, I read it and I heard it. It --
        3      said I asked for them at too late a date.                   3   A. There was more.
        4         It was any number of issues I raised with Furman's       4   Q. Yeah. Okay.
        5      and Easton's testimony but I was not allowed to delve       5          And with Furman, I guess it's going to speak for
        6      into it --                                                  6      itself. I don't recall you asking about any of that
        7   Q. Are you talking about the --                                7      but --
        8   A. -- because Mr. Guzall said I was only allowed to testify    8   A. Because I wasn't allowed.
        9      to what I did and what I said. Nobody else.                 9           (Discussion held off the record.)
       10   Q. Are you talking about the documents you requested the      10   BY MS. BALIAN:
       11      day before your hearing or the day of your hearing on      11   Q. Are you aware that Mr. Welch later recanted the
       12      August 30th?                                               12      testimony that he provided at the removal hearing
       13   A. The action or the hearing, yes.                            13      indicating that he did hear you refer to the mayor in a
       14   Q. Okay. There were, I believe, 17 or 18 days. It was         14      derogatory fashion?
       15      issued to you on August 17th. Your hearing started on      15   A. That is my understanding, after he was threatened with
       16      August 29th.                                               16      termination, yes.
       17          Why did you wait until August 30th to request the      17   Q. Mr. Welch is retired.
       18      documents?                                                 18          You understand that?
       19   A. Because I could tell by the way the first day of the       19   A. My understanding is he is using sick and vacation time
       20      hearing was going that it really didn't matter what I      20      until August, when he will officially retire.
       21      did or said, but the documents would have proved that      21   Q. Do you know how many tickets were issued in 2014 by the
       22      Easton and Furman were lying. So, three of the -- two      22      officers as a whole?
       23      of the three key witnesses against me on the City's        23          Not just towing.
       24      behalf lied, and I wasn't allowed the documents to prove   24   A. Not off the top of my head, no.
       25      that.                                                      25   Q. So, as a chief of police, if that number went down by




                                                                                                             Pages 105 to 108
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                             PageID.599                     Page 30 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                 Page 109                                                             Page 111
        1      2,000 tickets the following year, would that give you         1         (Record repeated by the reporter.)
        2      concern?                                                      2         MS. GORDON: Who said "the bad guys"?
        3   A. If -- I'm sorry. If I understand your question                3         I didn't follow your question. I'm sorry.
        4      correctly, if the tickets for 2014 were 2,000 fewer than      4         MS. BALIAN: That Mr. Hayse responded something to
        5      the previous year?                                            5      the effect of, "It looks like all the bad guys must be
        6   Q. Yeah.                                                         6      going around Melvindale."
        7   A. Would that cause concern?                                     7   A. I recall speaking with the Public Safety Commission when
        8   Q. Yes.                                                          8      they asked me in 2016 about the number of tickets, and I
        9   A. Yes, it would.                                                9      supplied a number of excuses -- a number of reasons why
       10   Q. Would you address it with your officers?                     10      tickets could be up or down, and that is one of the
       11   A. I would have to look at the data to see what the issue       11      answers I provided.
       12      was.                                                         12   BY MS. BALIAN:
       13   Q. Would you bring it forth to the Public Safety Commission     13   Q. So, when Gene's Towing was provided the towing services,
       14      and say, "Do you know what? I've got a concern here.         14      can you explain the procedure for payment that was in
       15      I'm going to look into it and find out what's wrong,         15      place for an individual coming to get their vehicle out
       16      what's going on"?                                            16      of impound?
       17   A. I don't believe that I brought that concern -- if what       17   A. Sure.
       18      you say is correct -- to the Public Safety Commission.       18         The registered owner would come to the police
       19         I did supply city council and Public Safety with          19      station. They would pay the City the storage, the
       20      year-end summary reports. I don't recall being               20      administrative fee, if it was in effect at that time,
       21      questioned that year regarding those reports.                21      directly to the City, and they would pay Gene's Towing
       22   Q. I didn't ask you if you were questioned. I just asked,       22      the fee for the tow bill directly to Gene's Towing.
       23      if that, in fact, was true, if that's something you          23   Q. So, somebody from Gene's Towing would have to meet the
       24      would have brought forth as your concern to the Public       24      person there at the police department?
       25      Safety Commission?                                           25   A. Yes.



                                                                 Page 110                                                             Page 112
        1   A. And I've already said I would have to look at the data        1         They had to come anyway to open the gate to allow
        2      to see what the issue was.                                    2      the person to get their vehicle out. So, they came and
        3   Q. Do you recall talking to your officers about it?              3      got paid and then went to open the gate.
        4   A. In 2014?                                                      4   Q. Okay. So, you've got a situation there where the person
        5   Q. Well, it would have been in 2015.                             5      is paying Gene's and the person is paying the City and
        6   A. For 2014 tickets; is that correct?                            6      then what?
        7   Q. In 2014 -- in 2015, 2,000 fewer tickets than in 2014.         7   A. After the transaction was completed, the person would
        8   A. Okay.                                                         8      either ride with Gene's down to the impound yard to get
        9   Q. Do you recall talking to your officers in 2014 or             9      their vehicle or have somebody that they came with go
       10      perhaps at the beginning of 2016 and saying, "Hey, guys,     10      down to the impound yard to get their vehicle.
       11      what's going on here? We have a reduction in tickets         11   Q. What type of documentation was provided by Gene's; if
       12      going on here. Is there something going on that I need       12      any?
       13      to know about or --"                                         13   A. For what?
       14   A. I don't recall that issue being raised.                      14         I don't understand the question.
       15           (Discussion held off the record.)                       15   Q. For the transaction that just took place.
       16   BY MS. BALIAN:                                                  16   A. I think they had a triplicate like half size sheet of
       17   Q. Do you recall when being asked about -- when being asked     17      paper with information on it.
       18      by the Public Safety Commission --                           18         I don't know. I didn't get into their business
       19          MR. COOGAN: Or council.                                  19      side of their paperwork. They would bring our copy of
       20   BY MS. BALIAN:                                                  20      the tow tag back, and then we would staple their copy
       21   Q. -- or city council about tickets and why there was a         21      and our copy together to show that the vehicle was
       22      reduction in tickets, that, "It just looks like all the      22      released.
       23      bad guys must be going around Melvindale"?                   23   Q. Okay. But there wasn't an invoice of any type sent by
       24          MS. GORDON: What? Could you repeat that?                 24      Gene's to the City or anything because the payment just
       25          Would you read that back, John?                          25      took place by cash being exchanged right there? Cash or




                                                                                                                Pages 109 to 112
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                            PageID.600                  Page 31 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                Page 113                                                           Page 115
        1      however -- whatever type of payment it was?                  1   Q. And was that determined with Gene's?
        2          MS. GORDON: What would Gene's pay the City for?          2         MS. GORDON: Gene's didn't get the impound fee. I
        3      What are you referring to?                                   3      don't --
        4   BY MS. BALIAN:                                                  4         MS. BALIAN: Can you let your client answer? It
        5   Q. That's what I'm asking you.                                  5      would be really appreciated.
        6          MS. GORDON: Well, that's not what you asked.             6         MS. GORDON: Okay. Look, Melinda, your questions
        7          If you understand the question, go ahead.                7      are not based in what occurred, nor what he said. So,
        8   A. I'm confused.                                                8      it's very confusing.
        9   BY MS. BALIAN:                                                  9         MS. BALIAN: If he doesn't know, he can say he
       10   Q. So, how was Gene's paid for their services for the City?    10      doesn't know.
       11          MS. GORDON: It's been asked and answered. He just       11         MS. GORDON: He said it was split. He knows. He
       12      told you.                                                   12      already told you, but now you're conflating two things.
       13          Go ahead.                                               13         MS. BALIAN: He just said they came in and paid.
       14   A. The tow fee was paid by the owner of the vehicle.           14         MS. GORDON: For the impound fee, and they paid
       15   BY MS. BALIAN:                                                 15      Gene's directly for the tow. That's what he told you.
       16   Q. Okay. So, it's split? The individual pays for their         16         So, your question didn't make any sense.
       17      portion to Melvindale and their portion to Gene's right     17   BY MS. BALIAN:
       18      there, and it's just split right there and the person       18   Q. What were they paying -- what were they paying according
       19      goes to get their vehicle?                                  19      to? A schedule, you said? A fee schedule?
       20   A. Yes.                                                        20   A. They were paying the tow fee based on the contract that
       21   Q. How do you know it's correct?                               21      they the City had with Gene's.
       22   A. The desk supervisor checks the number of days that the      22   Q. Okay.
       23      car was in the impound yard, including either portion of    23   A. And they were paying the other fee, the admin fee, if it
       24      the first and last day. It's not a 24 hour thing. It's      24      was applicable at the time, and the daily storage fee
       25      a daily thing. And if the administrative fee was in         25      that were set by city council.



                                                                Page 114                                                           Page 116
        1      effect at the time, then the fee would be added to the       1   Q. Okay. And do you have a copy of that anywhere?
        2      bill. And then the officer would complete a cash             2          MS. GORDON: A copy of what?
        3      receipt, showing the tow tag number, which also should       3   BY MS. BALIAN:
        4      have the admin fee, if applicable, and the daily storage     4   Q. This fee schedule that you're referring to that you said
        5      fee on the receipt.                                          5      city council approved.
        6   Q. So, the officer had to do all this?                          6   A. I do not have it. It's posted at the front desk at the
        7   A. The officer had to do the receipt for the cash that they     7      back -- at the front of the receipt book.
        8      received and then drop the cash in the cash box.             8   Q. Okay. So, when Goch & Sons was awarded the contract,
        9   Q. And then the cash box -- so, the cash box it kept with       9      did the procedure for payment change?
       10      the officer there at the police station?                    10   A. Yes.
       11   A. Yes.                                                        11   Q. Okay. How did it change?
       12   Q. And where is the impound yard?                              12   A. It changed that the person paid the -- at the police
       13   A. The impound yard is located on Wall Street just south of    13      desk the entire amount of all the fees and the towing.
       14      Greenfield about two and a half blocks from the police      14   Q. Which included what?
       15      station.                                                    15          Why don't you go over them.
       16   Q. Who owns the impound yard?                                  16   A. The towing fee, the admin fee, the storage fee, if there
       17   A. City of Melvindale.                                         17      was a dolly fee. They added a bunch of new fees with
       18   Q. And how were the fees determined?                           18      the new contract. So, we posted those fees at the desk
       19          MS. GORDON: The impound fees?                           19      so that the public and the officers would know what
       20          He just told you that.                                  20      those fees were.
       21   BY MS. BALIAN:                                                 21   Q. Okay. And then would Goch & Sons then send a monthly
       22   Q. Was there a fee schedule of any sort?                       22      invoice to the City of Melvindale to collect their
       23   A. Yes. The fees were approved by city council.                23      portion of those fees for each individual that paid?
       24   Q. Who set the fees up?                                        24   A. That is my understanding.
       25   A. City council.                                               25         I did not receive that invoice.




                                                                                                             Pages 113 to 116
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                             PageID.601                  Page 32 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                 Page 117                                                             Page 119
        1   Q. Because it was sent to the city administrator?                1   A. It's an evaluation --
        2   A. Yes.                                                          2   Q. Let me correct that.
        3   Q. Okay.                                                         3          How is that an evaluation of their performance?
        4   A. Initially the city administrator wanted me to handle          4   A. It's an evaluation of performance to see if it changed
        5      verifying those invoices and sending it in for payment,       5      drastically over time to see if the officers were
        6      and I told him that I wouldn't do it.                         6      continuing to perform in a certain range.
        7              (Deposition Exhibit 10 marked                         7   Q. So, if they stopped issuing tickets, that would be a
        8              for identification.)                                  8      concern to you?
        9   BY MS. BALIAN:                                                   9   A. Depending on when those violations were or were not
       10   Q. I'm showing you what's been marked as Exhibit 10.            10      issued, it might be a concern.
       11            Do you recognize this as a portion of the              11   Q. Can you explain that further, please?
       12      operational policies regarding the impounding of             12   A. Sure.
       13      vehicles?                                                    13         A number of years ago a previous chief started a
       14   A. Yes.                                                         14      traffic enforcement program and also an alcohol
       15         The page has other items on it as well, but, yes, I       15      enforcement program, and sometimes the officers working
       16      do.                                                          16      those details on overtime would write a number of
       17   Q. Other than the directive that you gave to Officer Furman     17      violations, but when they came in to do their regular
       18      in April of 2016, do you know of any directives given by     18      work, they didn't write as many violations.
       19      you or anyone else regarding the impounding or towing of     19   Q. So, that they could make more money on overtime?
       20      vehicles which did not comply with this policy?              20   A. The traffic enforcement was on overtime, yes.
       21   A. There have been a number of communications issued by         21   Q. Okay. So, you would see an increase during the overtime
       22      various chiefs. I don't recall if any of them had to do      22      hours, but not so much during their regular shift hours?
       23      with that or not.                                            23   A. Yes, under the previous administration.
       24   Q. Let's talk about when you were chief of police.              24   Q. Okay. So, you would watch to make sure that that did
       25   A. I don't believe so, if I understand your question.           25      not occur during your reign?



                                                                 Page 118                                                             Page 120
        1            MR. COOGAN: Can I have a moment?                        1   A. We didn't have the alcohol enforcement program, so I
        2            MS. BALIAN: Yeah.                                       2      didn't have that opportunity to see if officers were
        3              (Short recess at 12:55 p.m.)                          3      still continuing to -- some of them -- perform during
        4                     * * *                                          4      the alcohol enforcement and not under the regular shift.
        5              (Record resumed at 1:10 p.m.)                         5   Q. Okay. Then why -- how would you use it for performance?
        6   BY MS. BALIAN:                                                   6          How would you use your -- why you were keeping
        7   Q. Mr. Hayse, did you do evaluations on any sort of annual       7      track of the number of tickets for performance reasons?
        8      basis on the officers?                                        8          MS. GORDON: He's already explained this.
        9   A. No. I don't believe so.                                       9          MS. BALIAN: Well, he just said that they didn't
       10   Q. Did you do evaluations at all on the officers?               10      use it any more for alcohol --
       11   A. We did evaluations on all the new officers that were         11          MS. GORDON: Okay.
       12      going through field training.                                12          Go ahead, Chad.
       13         The previous chief stopped doing annual evaluations       13          MS. BALIAN: -- because they didn't have that any
       14      a number of years ago. I didn't start it again.              14      more.
       15   Q. Okay. So, is it fair to say that you didn't do any sort      15   BY MS. BALIAN:
       16      of evaluations, whether annually or otherwise, based         16   Q. So, how would you use it?
       17      upon the number of tickets officers wrote?                   17   A. We didn't have the alcohol enforcement program, so I
       18   A. No, that's not fair to say.                                  18      didn't have the opportunity to evaluate that program.
       19   Q. Okay. Then how am I wrong?                                   19   Q. Okay. So, did you use it at all for evaluating?
       20   A. I provided monthly reports to the Public Safety              20   A. Like I said, we used -- I used it to evaluate the new
       21      Commission and the city council regarding the total          21      officers who were under field training and were being
       22      number of violations issued, but I also knew which           22      evaluated daily, and I would monitor the total number of
       23      officers had issued those violations. I had that             23      violations issued on a monthly basis.
       24      information in my office.                                    24   Q. Okay. That doesn't -- that explains how you monitored
       25   Q. How is that an evaluation?                                   25      the field officers.




                                                                                                              Pages 117 to 120
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                               PageID.602                   Page 33 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                  Page 121                                                              Page 123
        1             How would you use it for evaluating the other           1   A. No, I did not.
        2        officers?                                                    2   Q. I didn't get the whole question out.
        3    A. I said we -- I would evaluate the total number of             3   A. I'm sorry. Go ahead.
        4        violations issued by all of the officers on a monthly        4   Q. Did you ever tell the officers or infer to the officers
        5        basis.                                                       5      that they were not to write tickets which involved
        6    Q. Okay. For what purpose?                                       6      towing when Goch & Sons was the towing service?
        7             MS. GORDON: He just explained it to you.                7   A. No.
        8    A. To see if they changed from month to month.                   8           (Discussion held off the record.)
        9    BY MS. BALIAN:                                                   9   BY MS. BALIAN:
       10    Q. Okay.                                                        10   Q. Did you ever tell the officers that they were not to
       11             MS. GORDON: If there was a drastic reduction.          11      make Goch & Sons any money?
       12        That's what he said.                                        12   A. No.
       13    BY MS. BALIAN:                                                  13   Q. Are you currently employed?
       14    Q. And if there was a drastic reduction, would that be a        14   A. Yes.
       15        concern to you?                                             15   Q. Where?
       16             MS. GORDON: He said yes.                               16   A. I have two part-time jobs. I work for Olympia
       17             This has all been covered.                             17      Entertainment at Little Caesars Arena, and I work as a
       18    BY MS. BALIAN:                                                  18      field technician for Expert Technology Services.
       19    Q. I didn't hear you say "yes."                                 19   Q. Okay. Do you work directly for Olympia?
       20             MS. GORDON: Well, sorry.                               20   A. Yes.
       21    BY MS. BALIAN:                                                  21   Q. How often do you work?
       22    Q. Did you say "yes"?                                           22   A. Generally one day a week.
       23    A. I believe I answered that "yes."                             23   Q. Can you increase that?
       24    Q. Okay. What would a drastic reduction be to you?              24   A. It's possible. It depends on the number of crowd
       25    A. In regard to what?                                           25      managers that they require and the number that volunteer



                                                                  Page 122                                                              Page 124
        1   Q. You said if there was a drastic reduction, it would be a       1      to work each specific event.
        2      concern.                                                       2         So, it is possible.
        3            So, what would you define a drastic reduction to         3   Q. And what do you do for them?
        4      be?                                                            4   A. Crowd manager.
        5   A. For the number of violations written?                          5         Basically, I work security at the metal detectors
        6   Q. Yes.                                                           6      at the door. On occasion, I'm assigned as a response
        7   A. Like -- you know, I don't remember how many they were          7      team to respond to various events either on the lower
        8      writing on a monthly basis. I would have to look to see        8      concourse or the upper concourse depending on which area
        9      what they were doing month-to-month and if it was -- you       9      I'm assigned to. And on occasion I'm assigned to the
       10      know, how much it would -- fluctuated up or down.             10      floor during concert events.
       11   Q. Say --                                                        11   Q. Have you requested to increase the time that you work
       12   A. I don't have a number.                                        12      there?
       13   Q. -- an officer wrote a hundred less violations per month       13   A. I have. I have requested to be a full-time employee
       14      in the following year, would that be a concern to you?        14      twice, and I didn't get either position.
       15      Than the previous year?                                       15   Q. So, you submitted an application for full-time, or how
       16   A. A hundred less would be a drastic number.                     16      did that work?
       17            MS. BALIAN: Anything else?                              17   A. I submitted a resume for two open positions when they
       18             (Discussion held off the record.)                      18      moved from the Joe Louis Arena to Little Caesars Arena.
       19   BY MS. BALIAN:                                                   19   Q. Okay. What about just request to work more than one day
       20   Q. Did you ever tell the officers or infer to the officers       20      a week?
       21      that they were not to tow vehicles for Goch & Sons?           21   A. Like I said, I could do that, but it's not a guarantee
       22   A. No, I did not.                                                22      that you'd get to work the events.
       23   Q. Did you ever tell the officers or infer to the officers       23   Q. And what was the other position?
       24      that they were not to write tickets which involved            24   A. I work part-time for -- as a field technician for Expert
       25      towing --                                                     25      Technology Services.




                                                                                                                 Pages 121 to 124
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                             PageID.603                Page 34 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                  Page 125                                                         Page 127
        1   Q. And what does that entail?                                     1    BY   MS. BALIAN:
        2   A. ETS provides IT support for various municipalities and         2    Q.    Who prepared your tax returns for 2016?
        3      police and fire departments.                                   3    A.    I believe I did.
        4   Q. IT support.                                                    4    Q.    You didn't have a CPA do them? A firm?
        5         So, what do you -- give me a day on the job.                5    A.    No.
        6         What do you do?                                             6    Q.    And they're filed?
        7   A. You know, it really varies. There are times when I'm           7    A.    For 20- --
        8      sent to check on a personal computer at a police or fire       8    Q.    '16.
        9      department to see if there's an issue with it. There           9    A.    '16?
       10      are times when I'm taking apart -- physically taking          10             Yeah.
       11      apart networks and cabling. And then there are times          11    Q.    I'm not trying to trick you.
       12      when I'm installing networking cabling or doing the           12    A.    Sorry.
       13      engineering work and planning to help with proposals and      13             Yes, I filed taxes in 2016.
       14      bids for new site locations.                                  14    Q.    Have you done your 2017 returns yet?
       15   Q. There were copies of checks that you produced in              15    A.    No.
       16      response to Defendants' Request for Production.               16    Q.    And will you be preparing those, or are you going to
       17         I can get them if I need to go copy them off.              17         have somebody do them?
       18         I don't recall that they were from ETS or the name         18    A.    I will probably have somebody do them.
       19      of it that you just said. They were for, I think, like        19    Q.    Okay. Do you know who?
       20      $800 like maybe every two weeks or maybe every week.          20    A.    No.
       21         Was that for this field tech job?                          21    Q.    So, other than your job at Olympia, with this ETS and
       22   A. I'd have to see the check.                                    22         with K.T., have you worked anyplace else since you left
       23         I had a different job last year. That might be an          23         Melvindale?
       24      old pay stub.                                                 24    A.    No.
       25   Q. What was that for?                                            25    Q.    Have you received any W-2's from any entities since


                                                                  Page 126                                                         Page 128
        1   A. That was a security job for secured -- armed security.         1      leaving employment with Melvindale?
        2      I believe the name of the company is K.T., "T" like Tom,       2   A. Olympia Entertainment.
        3      Securities out of Allen Park.                                  3   Q. Okay. And what about any 1099s?
        4   Q. I don't think it was K.T. Securities, but K.T. something       4   A. I believe I got a 1099 from ETS for calendar year 2016.
        5      rings a bell.                                                  5   Q. Okay.
        6   A. Okay.                                                          6   A. And I've got 1099s from the K.T. and ETS for calendar
        7   Q. Are you sure it was K.T. Securities?                           7      year 2017.
        8   A. It was K.T. something. I don't remember what the other         8   Q. Okay. Do you own or have any ownership interest in any
        9      word was.                                                      9      entities?
       10   Q. How much were you paid?                                       10   A. I have my own company.
       11   A. I believe that was $20 an hour.                               11   Q. What's the name of it?
       12   Q. How often were you paid?                                      12   A. Hayse Security Consultants.
       13   A. I think that was every week.                                  13   Q. When did you start it?
       14   Q. And who were you securing?                                    14   A. 2017. '17.
       15   A. They have a number of contracts for various construction      15   Q. So, did ETS hire Hayse Security Consultants or did they
       16      sites. I worked primarily -- or I should say                  16      hire Chad Hayse?
       17      exclusively at that I-75 construction area between            17   A. They hired me.
       18      Northline and --                                              18   Q. Are you paid through Hayse Security Consultants or are
       19          MS. BALIAN: Leaving?                                      19      you paid directly?
       20   A. -- the Rouge River Bridge.                                    20   A. I am paid directly.
       21          MS. BALIAN: Okay.                                         21   Q. Has Hayse Security Consultants received any
       22          MS. GORDON: I'm stepping out. Ms. Marzotto Taylor         22      compensation?
       23      is going to take over.                                        23   A. Yes. From the other security company.
       24          MS. BALIAN: Okay.                                         24   Q. From the other security company which is what?
       25            (Ms. Gordon leaves the room.)                           25   A. K.T. Avengers or Security or whatever the other word is.




                                                                                                              Pages 125 to 128
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                          PageID.604                  Page 35 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                             Page 129                                                            Page 131
        1   Q. That's all that Hayse Security Consultants has received?    1      Google's campus in Ann Arbor.
        2   A. Just from the security company, K.T. whatever, yes.         2         I received a negative response for that one, too.
        3   Q. Have you received any other compensation since leaving      3   BY MS. BALIAN:
        4      Melvindale?                                                 4   Q. What about University of Michigan Dearborn?
        5   A. I was paid for my accrued sick and vacation time by the     5   A. I think I just got a negative response via e-mail.
        6      City, and as of November 1st I started collecting my        6   Q. "A negative response" being what?
        7      pension.                                                    7   A. "Thank you for applying for the job. We're not hiring
        8   Q. And how much do you receive -- you receive that on a        8      you."
        9      monthly basis?                                              9   Q. Okay. And Providence Park Hospital?
       10   A. Yes.                                                       10   A. I was actually hired by Providence Park Hospital. I
       11   Q. How much do you receive per month?                         11      went and got a uniform and ID card and went through
       12   A. I'm not sure of the exact number. It just changed last     12      orientation, and the Friday before I was supposed to
       13      month.                                                     13      start on Monday, they contacted me and said that Human
       14         Somewhere around $3,000 a month.                        14      Resources would not allow them to hire me based on the
       15   Q. Where have you applied for employment since leaving        15      information they received from Melvindale. So, they
       16      Melvindale?                                                16      sent me a letter telling me not to report to work.
       17   A. I've applied for three positions with Olympia              17   Q. What information?
       18      Entertainment. I applied to work at Providence Park        18   A. They didn't say.
       19      Hospital in Novi. I've applied to work at -- where is      19   Q. And when was that?
       20      that company at?                                           20   A. I believe it was in 2016.
       21         California, I think. I don't remember the name of       21         I'd have to check the date.
       22      the company. They do drug testing for professional         22         There was another place but I can't remember the
       23      sporting teams.                                            23      name of it.
       24         Where else have I applied?                              24          (Discussion held off the record.)
       25         I applied at, I believe, the City of Ann Arbor          25   BY MS. BALIAN:



                                                             Page 130                                                            Page 132
        1      Police Department and the University of Michigan            1   Q. Where do you currently have bank accounts?
        2      Dearborn Police Department, I believe. I think those        2   A. I have bank accounts at Dearborn Federal Credit Union
        3      are both after.                                             3      and Bank of America and the Lincoln Park Credit Union.
        4   Q. Dearborn Police Department, did you say?                    4   Q. Did you say "Lincoln Park"?
        5   A. University of Michigan Dearborn Campus.                     5   A. Lincoln Park Credit Union, yes.
        6   Q. Okay.                                                       6         They used to have payroll deduction from
        7   A. I know I've got some other resumes out. I don't recall      7      Melvindale.
        8      the other locations at this time.                           8         I'm sorry. I think they still do but I don't.
        9   Q. Did you apply at Oakwood Hospital?                          9   Q. Understood.
       10   A. You know, I was looking at Oakwood. I don't know if I      10         But you have active accounts at those three?
       11      did or not. I had heard some negative things from a        11   A. Yes.
       12      friend of mind at Oakwood. So, I know I looked at it,      12   Q. Okay. Are you claiming emotional distress damages?
       13      but I don't know if I applied or not.                      13   A. Yes.
       14   Q. For Ann Arbor P.D., for what position did you apply?       14   Q. As a result of your removal from your position at
       15   A. I believe it was deputy chief.                             15      Melvindale?
       16   Q. Did you receive a response?                                16   A. Correct.
       17   A. I did.                                                     17   Q. Have you sought any treatment for your alleged emotional
       18   Q. What did they say?                                         18      distress damages?
       19   A. "Thank you for submitting your resume."                    19   A. Yes.
       20   Q. That is all?                                               20   Q. From who?
       21   A. "You're no longer being considered."                       21   A. Joseph Zambo, Z-a-m-b-o.
       22         THE REPORTER: I'm sorry?                                22   Q. When did you start treating with him?
       23   A. "No longer being considered."                              23   A. It was 2016. I want to say November or December of '16.
       24         THE REPORTER: Thank you.                                24      I'm not sure which month it was.
       25   A. I'm sorry. I also applied to do Director of Security at    25   Q. Is he a doctor? Is he a therapist? Psychiatrist? What




                                                                                                            Pages 129 to 132
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                            PageID.605                    Page 36 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                           Page 133                                                                     Page 135
        1      is he?                                                      1       children needed but it was not for myself.
        2   A. Psychologist, I believe.                                    2    Q. Did you meet with that therapist alone or was it with
        3   Q. Okay. Where is he located?                                  3        your children?
        4   A. I believe it's Northville. He works for Alpha               4    A. Both.
        5      Psychological Services.                                     5    Q. And what's that therapist's name?
        6   Q. And does he have anybody prescribe medication for you?      6    A. Oh, geez.
        7   A. After consulting with Dr. Zambo and my primary care         7            Solomon, I think, was the last name. I don't
        8      physician, I was put on two types of medication, yes.       8       recall the first name.
        9   Q. Which are what?                                             9    Q. Okay. Man or woman?
       10   A. Celexa and Ativan.                                         10    A. Male.
       11   Q. For what?                                                  11    Q. Where?
       12   A. For depression and PTSD.                                   12    A. His office is on Allen Road, south of Sibley.
       13   Q. Have you ever been diagnosed with depression before?       13            I don't know if that's Woodhaven or Trenton or --
       14   A. No.                                                        14    Q. Okay. That's outside of my bubble.
       15   Q. Have you ever been diagnosed with PTSD before?             15    A. All right. It's between West Road -- or no.
       16   A. No.                                                        16            Yeah. Between West Road around Sibley and Allen
       17   Q. Have you ever been on Celexa before?                       17       Road. I think that's Trenton or Brownstown. I'm not
       18   A. I was.                                                     18       sure.
       19   Q. When?                                                      19             MS. BALIAN: Okay. So, what city is that?
       20   A. When I was going through my divorce in 2009.               20             MR. COOGAN: It might be Woodhaven.
       21   Q. Who were you treating with at that time?                   21    A. I don't know if it's that far south.
       22   A. My primary care physician, T.J. Hassan, H-a-s-s-a-n, in    22             MR. COOGAN: Give me the intersection again.
       23      Dearborn.                                                  23    A. It's Allen Road between Sibley and West on the --
       24   Q. Is he with a group or is he on his own?                    24             MR. COOGAN: I think it's Woodhaven.
       25   A. He's on his own.                                           25    A. -- west side of the street.


                                                           Page 134                                                                     Page 136
        1   Q. Do you happen to know his full name, or does he go by       1          MR. COOGAN: I think it's Woodhaven.
        2      "T.J."?                                                     2   BY MS. BALIAN:
        3   A. He goes by T.J.                                             3   Q. Do you know if that individual is still practicing?
        4   Q. An Arabic name?                                             4   A. I do not.
        5   A. I don't know what it is.                                    5          MR. COOGAN: Riverview -- it might be Riverview.
        6   Q. What road is he located on in Dearborn?                     6   BY MS. BALIAN:
        7   A. Monroe, between Outer Drive and Oakwood.                    7   Q. How times did you see him?
        8   Q. How long have you treated with Dr. Hassan?                  8   A. I don't know. Ten, fifteen, maybe.
        9   A. Wow.                                                        9   Q. Alone?
       10         I want to say 1988, '86. It's been a long time.         10   A. No.
       11   Q. Okay. How long were you on Celexa when you started it?     11   Q. How many times did you see him alone?
       12   A. About a year.                                              12   A. It was in combination with my kids.
       13   Q. Have you ever been on Ativan before?                       13   Q. How many times did you see him alone?
       14   A. No.                                                        14   A. A few. A couple. Less than five, I would say.
       15   Q. Have you ever been on any type of drugs to help -- any     15         I'm sorry. You asked a question about income.
       16      mood-stabilizing drugs or any type of drugs to help with   16         Can we go back to that for a second?
       17      depression in the past --                                  17   Q. Sure.
       18   A. No.                                                        18   A. Because I remembered something else.
       19   Q. -- other than Celexa?                                      19   Q. Yes.
       20   A. Just Celexa.                                               20   A. I have an annuity based on a civil lawsuit that was
       21   Q. Okay. Have you ever treated with any other health          21      filed in the seventies, a wrongful death lawsuit. So, I
       22      professionals other than Dr. Hassan and Dr. Zambo?         22      have an annuity that pays me a sum of money every month.
       23   A. My -- my children went to see a different therapist in     23   Q. How much per month?
       24      conjunction with my divorce.                               24   A. $4,661.
       25         So, I spoke with that therapist based on what my        25   Q. $4,661 --




                                                                                                              Pages 133 to 136
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                           PageID.606                 Page 37 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                Page 137                                                         Page 139
        1   A. Yeah.                                                        1         I was prevented documents that I requested in
        2   Q. -- or $46?                                                   2      advance.
        3   A. No. $4,661.                                                  3   Q. The documents on August 30th that we talked about
        4   Q. Okay. Quite a difference there.                              4      earlier?
        5   A. There is quite a difference.                                 5   A. I believe there were others, but those specifically,
        6   Q. Just wanted to clarify.                                      6      yes.
        7         Okay. Who died that resulted in your receiving            7         I was denied the ability to question witnesses
        8      this?                                                        8      completely.
        9   A. My mother.                                                   9   Q. Who?
       10   Q. Sorry.                                                      10   A. All of them.
       11         When did -- what year did she die?                       11         I was denied the ability to question the witnesses'
       12   A. 1974. I was six.                                            12      motives and to discover those motives in front of the
       13   Q. In this lawsuit, you produced documents regarding Mike      13      city council so that they can make a better decision
       14      Goch purchasing property in Melvindale.                     14      when listening to those witnesses. I wasn't allowed to
       15         Why do you think those are relevant to this              15      question them.
       16      lawsuit?                                                    16         I wasn't allowed the documents. I wasn't allowed
       17         MS. MARZOTTO TAYLOR: I'm going to place an               17      to question all of the witnesses.
       18      objection. I think that calls for a legal conclusion.       18   Q. What documents specifically are you claiming that you
       19   BY MS. BALIAN:                                                 19      weren't provided?
       20   Q. You can go ahead and answer.                                20   A. The one that comes to mind initially is the evaluation
       21   A. I have no idea what you're talking about.                   21      between Goch & Sons and Gene's Towing employees that I
       22   Q. You didn't know that they were provided?                    22      had completed --
       23   A. I don't know what Mike Goch owns and doesn't own. I         23   Q. These --
       24      have no idea.                                               24   A. -- that was sent to --
       25          (Discussion held off the record.)                       25   Q. The background check that wasn't the background check?



                                                                Page 138                                                         Page 140
        1   BY MS. BALIAN:                                                  1      Is that what you're talking about?
        2   Q. Have you been to Mike Welch's property up north?             2   A. Well, a background check to a police officer means a
        3   A. No.                                                          3      certain thing. It might mean something different to an
        4   Q. Never?                                                       4      attorney.
        5   A. No. None of them.                                            5         A background check to a police officer means you
        6   Q. I'm sorry?                                                   6      run it on the computer system. I did not --
        7   A. None of them.                                                7   Q. Not through LEIN? It wasn't a criminal background
        8   Q. He has more than one?                                        8      check?
        9   A. He did.                                                      9   A. Correct.
       10         I don't know whether he still does or not.               10   Q. Okay.
       11   Q. I was talking about the one in Prudenville.                 11   A. So, I wasn't allowed that information. In fact, the
       12   A. I don't know where any of them are at. I know he had        12      mayor said at that hearing that she never recalled
       13      more than one. I don't have any idea.                       13      getting that document and didn't know what I was talking
       14   Q. Have you ever accompanied Paul Ott up north to his          14      about, and lo and behold, now my attorney has the
       15      property?                                                   15      document and we referenced it the other day with
       16   A. No.                                                         16      Mr. Marsee.
       17         MS. MARZOTTO TAYLOR: I'm going to place another          17   Q. Do you understand that simply because it's been produced
       18      objection as to relevance.                                  18      doesn't change whether the mayor received it or not?
       19   BY MS. BALIAN:                                                 19   A. No.
       20   Q. I know that you've indicated here today that you believe    20   Q. How do you not understand that?
       21      that you were denied the ability to call all of the         21         MS. MARZOTTO TAYLOR: Argumentative.
       22      witnesses that you wanted to at your removal hearing.       22   A. It's addressed to the mayor and the city council. So,
       23         Is there anything else that you're claiming that         23      one would presume that the mayor and city council
       24      you were prevented from doing at your removal hearing?      24      received a document that I gave them.
       25   A. Oh, yeah.                                                   25   BY MS. BALIAN:




                                                                                                             Pages 137 to 140
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                              PageID.607                   Page 38 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                  Page 141                                                             Page 143
        1   Q. And I believe you testified at your removal hearing you        1      were current employees of Goch & Sons and Gene's Towing
        2       did not e-mail it; correct?                                   2      at the time that their bids were put in for the
        3   A. No. I don't believe so. I believe I took it and put in         3      contracts?
        4       their mailboxes.                                              4   A. No, I did not. And I voiced that disclaimer that it
        5   Q. I believe you testified at your removal hearing you            5      didn't necessarily mean that all those people were
        6       provided it to the clerk but that two of the city             6      current employees, just that they had identified
        7       council members that were present at your removal             7      themselves as employees of both -- of either company
        8       hearing were not city council members at the time;            8      during the time that those events, the police reports,
        9       correct?                                                      9      the traffic citations and the accident reports, were
       10   A. I don't recall whether I said I gave it to the clerk or       10      taken.
       11       not. I believe I put it in the mailboxes for the mayor       11   Q. Why were those documents relevant to your removal
       12       and city council.                                            12      hearing?
       13            And as far as the two council members not being on      13         MS. MARZOTTO TAYLOR: Again, I think that question
       14       the council at the time --                                   14      calls for a legal conclusion.
       15   Q. Densmore and Louvet; correct?                                 15         MS. BALIAN: Well, he represented himself at the
       16   A. No.                                                           16      removal hearing.
       17            Michelle Land --                                        17   BY MS. BALIAN:
       18   Q. Correct. I'm sorry.                                           18   Q. So, you can answer it.
       19   A. -- and Steve Densmore.                                        19         MS. MARZOTTO TAYLOR: If you can, Chad.
       20   Q. I apologize.                                                  20   A. I'm not an attorney but I thought it was important
       21            So, they were not on the city council at the time       21      because the council was being told erroneous information
       22       you allegedly provided that to the mayor and city            22      regarding that document, and if I could show that the
       23       council; correct?                                            23      document detailed exactly what I said it detailed, then
       24   A. That is correct.                                              24      it meant that I was correct and I had the credibility,
       25   Q. And what other documents?                                     25      and whoever said the document was incorrect perhaps did



                                                                  Page 142                                                             Page 144
        1   A. I don't recall off the top of my head as I sit here            1      not have had the credibility, and it could have swayed
        2      today whether -- any other documents, but that was the         2      the council making a better educated decision.
        3      important one.                                                 3   BY MS. BALIAN:
        4   Q. Okay.                                                          4   Q. But you weren't charged with improperly doing any sort
        5   A. Because I was accused of doing something for one company       5      of background check with regard to either one of them;
        6      and against the other, and that's incorrect.                   6      correct?
        7   Q. Okay. On the background check that you indicated you           7   A. I was not but yet it was brought up at the hearing over
        8      ran, they were not criminal background checks; correct?        8      and over.
        9   A. That's correct.                                                9          I was also not charged with telling officers not to
       10   Q. Okay. So, you ran them through a system to see what --        10      tow vehicles, but it was brought up over and over.
       11      if any of them had received tickets; correct?                 11   Q. Count 3 refers to the "Willful Misconduct in Office upon
       12   A. No.                                                           12      the Usage of Towing Services Necessary for the Proper
       13   Q. Okay. Then explain what the check was.                        13      Enforcement of the Uniform Traffic Code"; correct?
       14   A. The check is in a records management system that              14          MS. MARZOTTO TAYLOR: Counsel, are you referring to
       15      Melvindale shares with 15 other communities. What I did       15      a particular page of that document?
       16      was go in on the Employer box, Employer tab, and enter        16          MS. BALIAN: Bates stamp 368.
       17      "Gene's Towing" and then "Goch & Sons Towing" into that       17          MS. MARZOTTO TAYLOR: Of the Amended Complaint?
       18      field, and looked at the summary of the reports and           18          MS. BALIAN: That's correct.
       19      tickets and accidents associated with the individuals         19   BY MS. BALIAN:
       20      who identified themselves as employees of Gene's Towing       20   Q. Do you see where it identifies Count 3?
       21      or Goch & Sons Towing.                                        21   A. I do.
       22   Q. For what time period?                                         22   Q. And then it goes on to identify the specific charges in
       23   A. I don't recall.                                               23      a number of paragraphs underneath, which documents you
       24   Q. Okay. So, did you have any verification that what was         24      telling the officers not to tow vehicles for Goch &
       25      entered in there at the time that you did this check          25      Sons; correct?




                                                                                                                 Pages 141 to 144
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                           PageID.608                   Page 39 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                             Page 145                                                               Page 147
        1          MS. MARZOTTO TAYLOR: We've already stipulated that     1   Q. Okay.
        2      the document speaks for itself.                            2             (Discussion held off the record.)
        3          MS. BALIAN: Well, he just denied that this had         3           MS. MARZOTTO TAYLOR: Counsel, I think my client
        4      anything to do with it. So, now I'm going to cover it      4       needs to take a short break.
        5      again.                                                     5           MS. BALIAN: Sure.
        6   A. It does. If you look at Paragraph 17, the second line      6           MS. MARZOTTO TAYLOR: There's no question pending.
        7      of the last paragraph -- I'm sorry -- the last sentence    7                (Short recess at 1:50 p.m.)
        8      in Paragraph 17 on page 369 says:                          8                      * * *
        9               "No background checks were obtained or            9             (Record resumed at 1:57 p.m.)
       10         performed upon the owner and/or employees of           10   BY MS. BALIAN:
       11         Gene's Towing."                                        11   Q. Do you recall, Mr. Hayse, appearing at the city council
       12         That document would have shown that that's false.      12       meeting, I believe it was in May of 2015, to speak on
       13   BY MS. BALIAN:                                               13       behalf of Gene's Towing for the -- during the bidding
       14   Q. Okay. So, when you received this, why didn't you ask      14       process?
       15      for the document --                                       15   A. I don't know if it was after the City received the bid
       16   A. I did ask for the document.                               16       or before.
       17   Q. -- instead of on August 30th?                             17          I think it was after they receive bids.
       18   A. I asked for the document. Mr. Coogan said that he         18   Q. But you recall appearing there to speak on behalf of
       19      didn't have enough time to give it to me. I even told     19       Gene's Towing?
       20      him where the document was located.                       20   A. I believe I was asked for my opinion. So, I gave my
       21   Q. My question was, when you received this document on       21       opinion, yes.
       22      August 19th, you asked for the document that's referred   22   Q. Well, you actually appeared with Paul Ott for Gene's
       23      to in paragraph 17 on August 30th, the --                 23       Towing, did you not?
       24          MS. MARZOTTO TAYLOR: I think this has been already    24   A. It was a council meeting. I wouldn't have appeared for
       25      answered.                                                 25       anybody but myself.


                                                             Page 146                                                               Page 148
        1   BY MS. BALIAN:                                                1   Q. Did you appear with Paul Ott during the bidding process
        2   Q. -- second day of the hearing.                              2      and speak on his behalf?
        3         Why did you wait until the second date of the           3   A. At a council meeting?
        4      hearing to ask Mr. Coogan for the document?                4         I don't believe so, no.
        5         MS. MARZOTTO TAYLOR: Asked and answered much            5   Q. At any point during the bidding process and speak on his
        6      earlier today.                                             6      behalf?
        7   BY MS. BALIAN:                                                7   A. I gave my opinion of the two companies.
        8   Q. You can go ahead and answer.                               8         I don't recall if Mr. Ott was there or not there.
        9   A. Because based on day one of the hearing, I could see       9   Q. And do you recall telling city council that you did a
       10      this was going to be an issue. And if I could have had    10      background check on Goch & Sons at the city council
       11      the document to show, it shows that I did exactly the     11      meeting?
       12      same thing for both companies, and whoever wrote this     12   A. I did a background check on both companies, yes.
       13      lied and tried to hide the evidence.                      13   Q. My question --
       14   Q. But you agree that council or at least the mayor          14   A. Not a LEIN check. Not a legal background.
       15      indicated that she did not receive either background      15   Q. I didn't say LEIN check.
       16      check; agreed?                                            16   A. Okay. I just want to make sure.
       17   A. That's what the mayor said at my termination hearing      17   Q. My question was, do you recall telling city council that
       18      but --                                                    18      you did a background check on Goch & Sons?
       19   Q. The removal hearing?                                      19   A. I believe so, yes.
       20   A. Yep.                                                      20   Q. But your statement to them did not include that you did
       21         But obviously that wasn't the case because now the     21      a background check on Gene's Towing?
       22      document exists and we have it.                           22   A. No. I don't believe that's accurate.
       23   Q. Okay. The document came -- do you know whether the        23   Q. So, you believe you told them you did one on both?
       24      document came from the mayor?                             24   A. Yes. I described in detail how I performed the records
       25   A. I do not know where it came from.                         25      check from the records management system the same way I




                                                                                                             Pages 145 to 148
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                           PageID.609                 Page 40 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                              Page 149                                                            Page 151
        1      described it to you.                                        1             (Discussion held off the record.)
        2   Q. And you were upset that Gene's did not get the towing       2   A. Thank you.
        3      contract. Is that fair to say?                              3   BY MS. BALIAN:
        4            "Upset" meaning disappointed, not happy.              4   Q. Was Paul Ott; if you know?
        5   A. I think that's fair.                                        5   A. Was he what?
        6   Q. Can you agree in hindsight at least that it's probably a    6   Q. Questioned in the federal investigation.
        7      good thing, given Gene's Towing affiliation would with      7            MS. MARZOTTO TAYLOR: I think that calls for
        8      Gasper Fiore and given that he's been indicted for          8       speculation.
        9      bribery of municipal officials for towing contracts?        9            MS. BALIAN: Not if he knows.
       10   A. I'm not that familiar with that individual but I would     10   A. I have --
       11      not want to be affiliated with him or his company.         11   BY MS. BALIAN:
       12   Q. And it would not be good for the City of Melvindale to     12   Q. Do you know?
       13      be affiliated with Gene's Towing given their being named   13            MS. MARZOTTO TAYLOR: You can answer if you know,
       14      in the press because of their affiliation with Gasper      14       Chad.
       15      Fiore? Would you agree with that?                          15   A. I have no idea.
       16            MS. MARZOTTO TAYLOR: The question calls for          16   BY MS. BALIAN:
       17      speculation.                                               17   Q. Do you know of anybody that was questioned in the
       18            MS. BALIAN: I'm just asking if he would agree with   18       investigation of Gasper Fiore?
       19      it.                                                        19   A. No. Not that I know of.
       20   A. I think there were a number of people that were            20   Q. Did you receive any subpoenas for the federal
       21      connected with that individual that had no wrongdoing      21       investigation of Gasper Fiore?
       22      and had to come out and say they had no wrongdoing,        22            MS. MARZOTTO TAYLOR: Again, relevance.
       23      including a judge in Detroit.                              23   A. No.
       24   BY MS. BALIAN:                                                24   BY MS. BALIAN:
       25   Q. But my question was, would you agree that it's good for    25   Q. Were you ever offered any bribe for towing contracts


                                                              Page 150                                                            Page 152
        1      the City of Melvindale not having been mentioned in any     1      when you were chief of police for the City of
        2      press of having any relationship with Gene's Towing         2      Melvindale?
        3      given their relationship with Gasper Fiore?                 3   A. No.
        4            MS. MARZOTTO TAYLOR: Again, calls for speculation.    4            (Discussion held off the record.)
        5   A. I don't know the relationship Gene's Towing has with        5         MS. BALIAN: I don't have any further questions.
        6      that individual. If it's a negative relationship, then      6         MS. MARZOTTO TAYLOR: I have some.
        7      I would say, yes, it's probably better not to be            7         MS. BALIAN: Okay.
        8      affiliated with him.                                        8                    * * *
        9   BY MS. BALIAN:                                                 9                    EXAMINATION
       10   Q. Have you ever met him?                                     10   BY MS. MARZOTTO TAYLOR:
       11   A. Who?                                                       11   Q. Okay. Mr. Hayse, I'm going to direct your attention to
       12   Q. Gasper Fiore.                                              12      Exhibit 8.
       13   A. I have no idea who that is.                                13   A. Okay.
       14            MS. MARZOTTO TAYLOR: Relevance.                      14   Q. Right here.
       15   BY MS. BALIAN:                                                15         This is the memo that you issued to Corporal Matt
       16   Q. So, do you know -- have you ever met him?                  16      Furman on April 26, 2016.
       17   A. No.                                                        17         Can you please explain why it was necessary for you
       18             (Discussion held off the record.)                   18      to issue this memo to Officer Furman?
       19   BY MS. BALIAN:                                                19   A. Officer Furman had violated the rules and regulations
       20   Q. Were you ever questioned during the federal                20      and policies of the department. In conjunction with an
       21      investigation of Gasper Fiore?                             21      investigation into that violation, I spoke with his
       22            MS. MARZOTTO TAYLOR: Again, relevance.               22      supervisor, Lieutenant Welch, and the psychologist that
       23   A. No, I was not.                                             23      interviewed Corporal Furman on the City's behalf, and in
       24            Can I ask a question?                                24      conjunction with his union reps and himself, we decided
       25            MS. BALIAN: Sure.                                    25      to come up with something so that Corporal Furman could




                                                                                                            Pages 149 to 152
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                           PageID.610                      Page 41 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                              Page 153                                                               Page 155
        1      take a minute or so on his traffic stops prior to towing    1   Q. And were there other officers who witnessed Officer
        2      a vehicle to think about the totality of the                2      Furman's lack of discretion, as you put it?
        3      circumstances.                                              3   A. I would say probably every officer on the department.
        4         He had, on a number of occasions, pulled infants         4   Q. Okay. And did you -- do you have written statements
        5      out of cars. He pulled baby seats out of cars. He           5      from some of those officers as well?
        6      pulled old ladies in walkers out of cars, and basically     6   A. I believe some of those would be in the various citizen
        7      I just wanted him to take a minute and think about the      7      complaints that Corporal Furman received while I was the
        8      totality of the traffic stop and the offense committed      8      chief.
        9      by the driver and whether that could adversely affect       9   Q. Okay. All right.
       10      any the passengers in the vehicle.                         10          Okay. So, moving on from Exhibit 8, so you
       11         So, this was in consultation with a number of           11      testified that it was your belief that the City had a
       12      individuals and agreed to by Corporal Furman and both of   12      towing quota that they wanted the police department to
       13      his union reps.                                            13      fulfill while you were the chief?
       14   Q. Okay. And you said that this resulted from a police        14   A. Yes.
       15      department investigation that arose in conjunction with    15   Q. What evidence did you have that that towing quota
       16      certain violations --                                      16      existed?
       17   A. Yes.                                                       17          MS. BALIAN: Objection. Asked and answered.
       18   Q. -- of the rules and regs and policies and procedures       18   BY MS. MARZOTTO TAYLOR:
       19      that Officer Furman had committed.                         19   Q. Go ahead, Chad.
       20          Can you maybe explain what some of those violations    20   A. Aside from the statements from the union reps when they
       21      were?                                                      21      were negotiating pay increases with the City, I was
       22   A. You know, as I sit here today, I don't remember which      22      constantly barraged by the city administrator, the
       23      violation this was.                                        23      mayor, city council members and the Public Safety
       24         There were any number of investigations into            24      Commissioners on a routine basis about the number of
       25      corporal Furman's behavior. This was just the next one     25      vehicles that were towed, and if there was even the



                                                              Page 154                                                               Page 156
        1      at the time. I don't recall the specifics of the case.      1      slightest dip in the number of vehicles towed on a
        2   Q. I believe you testified you spoke with Lieutenant Welch     2      month-to-month basis, then I was getting questioned by
        3       in connection with issuing this document.                  3      those officials.
        4          Was Lieutenant Welch supervising Officer Furman's       4         And I also had corporation counsel question me a
        5       performance during this period?                            5      number of times in open meetings regarding the number of
        6   A. Yes. Lieutenant Welch was a shift commander on day          6      tows per month.
        7      shift that corporal Furman was assigned to.                 7   Q. Okay. Any other indication from city council or other
        8   Q. Okay. And what had Lieutenant Welch observed vis-à-vis      8      city officials that they wanted those towing numbers to
        9       Officer Furman's behavior with regard to towing?           9      be higher?
       10   A. He observed that Corporal Furman was not using             10   A. The City at the time when I was a chief was under a five
       11      discretion at all and was not taking into account some     11      year deficit elimination plan, and I don't believe that
       12      of the innocent parties that were inside of the vehicles   12      they were going to make that five year plan. So, there
       13      on traffic stops and just arbitrarily towing nearly        13      was a number of conversations that I had with the city
       14      100 percent of the vehicles that he was capable off        14      administrator and the mayor and previous corporation
       15      towing.                                                    15      counsel for the City regarding the revenue generated by
       16   Q. And do you have documentation or information that          16      the towing of vehicles, the storage of vehicles and the
       17       Lieutenant Welch provided you in conjunction with this    17      auctioning of vehicles.
       18       investigation?                                            18   Q. Okay. You've claimed that the City -- various City
       19   A. I had it at one point in my office.                        19      officials were displeased or dissatisfied with the fact
       20          I don't have access to the office any longer, so I     20      that you disciplined Officer Furman in relation to, you
       21      do not have the information.                               21      know, the alleged police brutality incidents.
       22   Q. Okay. But that was a written statement of some kind?       22          So, why do you --
       23   A. Yes.                                                       23          MS. BALIAN: Objection. There's was no testimony
       24   Q. Okay. Great.                                               24      as to that. Please stop leading --
       25   A. I believe so.                                              25          MS. MARZOTTO TAYLOR: It's in the Complaint.




                                                                                                              Pages 153 to 156
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                             PageID.611                 Page 42 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                 Page 157                                                           Page 159
        1          MS. BALIAN: -- the witness.                               1   Q. Okay. Can you -- so, we've talked and you've testified
        2          MS. MARZOTTO TAYLOR: It's in the Complaint.               2      today about some the ways that your, you know, wrongful
        3          MS. BALIAN: Well, he hasn't testified to that             3      termination has impacted you financially and some of the
        4      and --                                                        4      benefits that you haven't received.
        5          MS. MARZOTTO TAYLOR: My question said he                  5         Can you explain, are there any ways that your
        6      "alleged."                                                    6      termination has negatively impacted you other than
        7          MS. BALIAN: -- it's not a verified Complaint. So,         7      financially?
        8      please don't lead the witness.                                8   A. Yes. I lost between 10 and 12 pounds as a result of my
        9          MS. MARZOTTO TAYLOR: I said that he "alleged" it.         9      termination. I laid about the house in my pajama pants
       10      It's in the Complaint.                                       10      and sweat pants for a number of weeks. I didn't want to
       11   BY MS. MARZOTTO TAYLOR:                                         11      leave the house. In fact, I didn't want to walk down
       12   Q. Why do you believe that, Chad, or why did you allege         12      the driveway because it felt like everybody was staring
       13      that?                                                        13      when I was walking down the driveway because I had been
       14   A. Corporal Furman was responsible for, I would say,            14      removed from office for misconduct, and I didn't do
       15      between 70 and 80 percent of the tows of all the             15      anything wrong. But I didn't want to walk down to the
       16      officers. So, 70 to 80 percent was by Furman. And I          16      end of my own damn driveway and pick up my own mail
       17      had recommended that he be terminated via e-mail to a        17      because it felt like people were staring at me.
       18      number of city officials, including corporation counsel,     18   Q. Okay.
       19      the mayor, the Public Safety Commission and I believe        19   A. I didn't want to -- the place I got my hair cut for
       20      the city administrator.                                      20      years is in Melvindale. I stopped going there.
       21         So, it was my position that Corporal Furman be            21         My wife and a couple of her friends like to go to a
       22      terminated because of the two allegations of brutality       22      couple of restaurants in Melvindale, and I don't want to
       23      that had surfaced in July of 2016, and if Corporal           23      go there any more. I drive around the city trying to
       24      Furman was indeed terminated, then the City would be         24      avoid going through the city and being confronted by a
       25      looking at a 70 to 80 percent reduction in the number of     25      couple of officers in particular.



                                                                 Page 158                                                           Page 160
        1      tows by the officers.                                         1          I try not to drive through the city unless I
        2   Q. Okay. Let's see here.                                         2       absolutely have to. And if I go to lunch with my
        3         You have testified and claimed in your Complaint           3       spouse, I don't drive. I'm afraid that I'm going to be
        4      that you believe that there was a predetermined result        4       targeted by some of the witnesses that testified against
        5      in mind that the City officials had prior to and during       5       me at my hearing.
        6      the August 29th and 30th termination proceedings that         6          I -- it has affected my whole life.
        7      took place.                                                   7   Q. Okay.
        8         What evidence do you have of that predetermined            8   A. I'm seeing a counselor. I'm on medication.
        9      result?                                                       9          It's affected my relationship with my spouse. It's
       10   A. There's a logical and reasonable explanation for each of     10       taken over a number of our conversations because it's
       11      the five charges that I provided. And the limited            11       just wrong what happened.
       12      ability I had to provide witnesses and get the documents     12          It seems so sad that you can work for 25 years as a
       13      that I could more than adequately exonerated myself from     13       dedicated public servant, and because you get in
       14      all five of these charges.                                   14       somebody's way, you're just cast aside like a piece of
       15         I found it interesting in the number of people that       15       tissue; that your 25 years of service didn't matter and
       16      approached me after my termination to tell me that it        16       you never did anything good and you're just this
       17      was a forgone conclusion and that it was clear that I        17       horrible person.
       18      had vindicated myself, and the City had already made up      18          And I can't even find a decent job equal to the
       19      their mind to terminate me.                                  19       position I had with the City.
       20         And in fact, I was asked by at least two news             20           MS. MARZOTTO TAYLOR: So, just for the record, I
       21      agencies as I was walking to my vehicle to leave for         21       want the record to show that the witness is visibly
       22      that last evening if they -- if I thought that it was a      22       upset and emotional when giving his testimony.
       23      pregone -- a forgone conclusion that I was going to be       23   BY MS. MARZOTTO TAYLOR:
       24      terminated and it didn't matter what I said at the           24   Q. Okay. Let's see.
       25      hearing.                                                     25           MS. BALIAN: I'll object as to that. It's not your




                                                                                                               Pages 157 to 160
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                           PageID.612                    Page 43 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                               Page 161                                                              Page 163
        1      record to indicate how the witness is. It's a question       1   A. For that specific incident, I don't recall. I'd have to
        2      and answer.                                                  2      look at my notes from that investigation.
        3          Go ahead.                                                3   Q. Where would those notes be kept?
        4          MS. MARZOTTO TAYLOR: It's not a video deposition.        4   A. Those notes should have been in his -- Corporal Furman's
        5          MS. BALIAN: Exactly. It's not a video deposition.        5      personnel file under "Discipline." And if they're not
        6          MS. MARZOTTO TAYLOR: Okay.                               6      there, they may be in the "Complaint Against Officer"
        7   BY MS. MARZOTTO TAYLOR:                                         7      file in the chief's conference room in the short filing
        8   Q. Okay. Chad, you testified earlier today that you saw a       8      cabinet, right-hand side, second drawer from the top.
        9      therapist in connection with your divorce; how that          9   Q. And you're saying that this exhibit was issued as a
       10      divorce affected your children.                             10      result of various citizen complaints against Officer
       11          Can you explain when those appointments ceased?         11      Furman; is that correct?
       12   A. I believe they started in '09. They ceased in 2010.         12   A. No.
       13         I was trying to get my children to see the               13   Q. Okay. How am I incorrect?
       14      counselor because my ex-wife had poisoned them against      14   A. It was one specific citizen complaint. It was not the
       15      me, and so I went to court to get an order from my          15      totality of all his complaints. This is from one
       16      divorce judge for -- that my children see a therapist.      16      specific incident.
       17         And my ex-wife interfered with bringing the kids to      17   Q. Okay. And if you remember, was it the specific incident
       18      the hearings and participating in the hearings to the       18      for which you suspended him in March of 2016?
       19      point where the therapist said it wasn't going to do any    19         Or maybe the complaint was received in March of
       20      good unless my ex-wife was not present; it was just the     20      2016, and you suspended him soon thereafter related to a
       21      children or myself and the children. And she                21      tow of a female's vehicle?
       22      wouldn't -- my ex-wife would not bring the kids to the      22   A. I don't understand the question.
       23      counseling sessions, nor would she allow me to take the     23   Q. Okay. You're saying it was related to one specific
       24      kids to the counseling sessions even if it was on my        24      incident; correct?
       25      prescribed visitation date and time.                        25   A. Yes.



                                                               Page 162                                                              Page 164
        1   Q. Okay. And between 2010, when those appointments for          1   Q. Okay.
        2       your children ceased, and when you started seeing the       2   A. I believe so.
        3       therapist in connection with the lasting effects of your    3   Q. And did you suspend him for that one specific incident?
        4       termination, you, you know, didn't have any, you know,      4   A. Yes.
        5       mental health treatment in between that time?               5   Q. Okay.
        6   A. I did not.                                                   6   A. Three days.
        7          I did find another counselor and got a court order       7   Q. Okay. And for that one specific incident, was there
        8       for my children to see a new counselor, and so I took       8       something wrong with him pulling over the vehicle that
        9       them a few times.                                           9       was related to the person's age or gender?
       10   Q. But those weren't appointments for yourself?                10   A. I don't recall that specific incident. Like I said, I
       11   A. They were not for myself, no.                               11       would have to see my notes and the citizen -- read the
       12           MS. MARZOTTO TAYLOR: Okay. No further questions.       12       citizen complaint.
       13           MS. BALIAN: I have a couple follow-up questions.       13   Q. Okay. Do you remember if the person was refusing to get
       14                      * * *                                       14       out of their vehicle once the person had been issued the
       15                   RE-EXAMINATION                                 15       ticket and the tow truck was there to tow the person's
       16   BY MS. BALIAN:                                                 16       vehicle?
       17   Q. You indicated that Exhibit 8, which it the memo --          17          MS. MARZOTTO TAYLOR: He already testified he
       18       April 26, 2016 memo that you issued -- let me just         18       doesn't recall.
       19       clarify what it is.                                        19   A. I don't recall. I'd have to see my notes.
       20           The "Melvindale Police Department, Office of the       20   BY MS. BALIAN:
       21       Chief of Police, Departmental Communication." It's to      21   Q. Okay. If that was the case -- let's just say a
       22       Matthew Furman from you. It was issued as a result of      22       scenario.
       23       the violation of the rules and regulations of Matt         23          Officer Furman has issued a ticket which is
       24       Furman.                                                    24       resulting in the towing of the vehicle, whether it is
       25           What rule and regulation did Matt Furman violate?      25       improper plates, no insurance on the vehicle, whatever




                                                                                                                Pages 161 to 164
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                           PageID.613                  Page 44 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                Page 165                                                        Page 167
        1       it may be. He directs the person to get out of the car.      1          MS. MARZOTTO TAYLOR: Is there a particular statute
        2             The person says, "I'm not. I'm not getting out of      2      or code that you'd like to refer him to?
        3       this car."                                                   3          MS. BALIAN: Well, if you don't know the law,
        4             Do you think that's improper of the person to          4      that's your problem. He knows the law and I know the
        5       refuse the police officer's directive to get out of the      5      law.
        6       car?                                                         6   BY MS. BALIAN:
        7             MS. MARZOTTO TAYLOR: I'm going to place an             7   Q. So, they're being issued a ticket for an improper plate,
        8       objection. That calls for speculation and also --            8      which allows for the impounding of the vehicle.
        9             MS. BALIAN: I'm asking for his opinion. It's no        9          So, regardless, if the person has children in the
       10       specific -- it's just a scenario a police officer may be    10      car or not, that statute doesn't care; isn't that
       11       in.                                                         11      correct, Mr. Hayse?
       12             MS. MARZOTTO TAYLOR: It's a complete hypothetical.    12          MS. MARZOTTO TAYLOR: So, I'm going to place an
       13             Are you asking him based on police department rules   13      objection that you're quizzing him about the contents of
       14       and regulations that you can refer him to?                  14      a statute that you like haven't provided him.
       15             MS. BALIAN: I'm asking him based upon his             15          MS. BALIAN: Well, I can provide it. That's fine.
       16       experience as a police officer.                             16          MS. MARZOTTO TAYLOR: And you're giving a
       17             MS. MARZOTTO TAYLOR: My objection is that this        17      hypothetical scenario that calls for him to speculate.
       18       calls for speculation. It's a hypothetical scenario.        18   BY MS. BALIAN:
       19             You can answer.                                       19   Q. I'm showing you MCL 257.255. If you look at subsection
       20   BY MS. BALIAN:                                                  20      (3), is there anything in subsection (3) which allows --
       21   Q. Is it -- you can answer.                                     21      which that section allows for the impoundment of the
       22             MS. MARZOTTO TAYLOR: If you can, Chad, to the best    22      vehicle.
       23       of your ability.                                            23          Is there anything in that section which indicates
       24   A. Every traffic stop is different, and I would have to         24      that the vehicle can't be impounded if there are
       25       have been the officer there and listen and observe the      25      children in the vehicle?


                                                                Page 166                                                        Page 168
        1      person and their demeanor and what they were asking for,      1         MS. MARZOTTO TAYLOR: So, read the entire section.
        2      you know, the time of day, the weather. There are --          2         And while you're doing that, I'm going to place an
        3   BY MS. BALIAN:                                                   3      objection that, you know, you're asking him for a legal
        4   Q. It's perfectly sunny.                                         4      conclusion, to interpret this statute, and the question
        5   A. -- lots of factors.                                           5      is improper because it calls for a legal conclusion.
        6   Q. Perfectly sunny out, busy road, though, a four-lane           6   BY MS. BALIAN:
        7      road, and the person is refusing to get out of the            7   Q. Let me ask it this way: Did you ever write tickets for
        8      vehicle once they've been issued the ticket --                8      improper registration/plate when you were a police
        9          MS. MARZOTTO TAYLOR: Is there a question?                 9      officer?
       10   BY MS. BALIAN:                                                  10         MS. MARZOTTO TAYLOR: So, are you still referring
       11   Q. -- because they don't want to get out.                       11      to this document or no?
       12          Is that improper of the person to refuse the police      12         MS. BALIAN: I'm just asking if he ever wrote this
       13      officer's directive to get out of the vehicle?               13      kind of ticket when he was a police officer.
       14   A. It is.                                                       14         MS. MARZOTTO TAYLOR: So, does the question relate
       15          MS. MARZOTTO TAYLOR: Calls for speculation.              15      to this document?
       16   BY MS. BALIAN:                                                  16         MS. BALIAN: I'm asking generally if he ever wrote
       17   Q. Regardless if they have children in the car or not;          17      tickets for improper plate when he was a police officer.
       18      correct?                                                     18         MS. MARZOTTO TAYLOR: Pursuant to this statute
       19          Because the statute doesn't care if you have kids        19      right here?
       20      in the car; right?                                           20         MS. BALIAN: Sure. Or improper registration, not
       21          MS. MARZOTTO TAYLOR: Calls for speculation, and          21      having a valid registration.
       22      you're asking him what the contents are of a                 22         It all falls under the same statute.
       23      hypothetical statute that you have not referred us to.       23         MS. MARZOTTO TAYLOR: Well, you listed a couple
       24   BY MS. BALIAN:                                                  24      different criteria here, so I want to make sure that he
       25   Q. Improper plates.                                             25      understands the question.




                                                                                                           Pages 165 to 168
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                             PageID.614                   Page 45 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                                  Page 169                                                           Page 171
        1   A. If you're asking me if I have ever written a violation         1      contacted the press or the press contacted the attorney?
        2       for no registration on person, I have.                        2          MS. MARZOTTO TAYLOR: He already answered that
        3           If you're asking me if I've written a violation for       3      question. He just stated that.
        4       an improper plate on a motor vehicle, I have.                 4          MS. BALIAN: I can't hear him over your talking.
        5   BY MS. BALIAN:                                                    5          Did you have an objection, or are you just talking?
        6   Q. Okay. Have you impounded vehicles?                             6          MS. MARZOTTO TAYLOR: Yes. I have an objection
        7   A. I have.                                                        7      that you already asked that question, and he's already
        8   Q. Okay. Pursuant to not having a valid registration/plate        8      answered it.
        9       as required?                                                  9          MS. BALIAN: Okay.
       10           MS. MARZOTTO TAYLOR: Already answered.                   10          MS. MARZOTTO TAYLOR: Go ahead, Chad.
       11   A. I have.                                                       11   BY MS. BALIAN:
       12   BY MS. BALIAN:                                                   12   Q. Did you ask your attorney to contact the press?
       13   Q. Okay. And do you agree that subseciton (3) does not           13          MS. MARZOTTO TAYLOR: Asked and answered.
       14       have any reference as to whether children are in the car     14          MS. BALIAN: He didn't answer that.
       15       are not?                                                     15   A. I don't know whether my attorney contacted the press or
       16           MS. MARZOTTO TAYLOR: So, we'll stipulate to the          16      the press contacted my attorney.
       17       document speaking for itself. The words are what the         17   BY MS. BALIAN:
       18       words are.                                                   18   Q. I asked did you ask her to.
       19   BY MS. BALIAN:                                                   19   A. No, I did not.
       20   Q. Do you agree with that, Mr. Hayse?                            20          MS. MARZOTTO TAYLOR: Chad, you don't have to
       21   A. I would agree children are not mentioned.                     21      testify about what you asked your attorney or what your
       22   Q. Nor is gender or age; correct?                                22      attorney said to you.
       23   A. I don't believe so.                                           23           (Discussion held off the record.)
       24           MS. MARZOTTO TAYLOR: The document speaks for             24   BY MS. BALIAN:
       25       itself.                                                      25   Q. You testified that there was -- as to the quota, that



                                                                  Page 170                                                           Page 172
        1   BY MS. BALIAN:                                                    1       there was at barrage by the city administrator and
        2   Q. You invited the press to your removal hearing; correct?        2       mayor, I believe you said the Public Safety Commission
        3          MS. MARZOTTO TAYLOR: Relevance.                            3       and the city council about --
        4   A. I did inform the press of the hearing, yes.                    4            (Discussion held off the record.)
        5   BY MS. BALIAN:                                                    5   BY MS. BALIAN:
        6   Q. Okay. And your attorney has contacted the press                6   Q. -- about the number of tickets being issued regarding
        7      relative to this lawsuit; correct?                             7       tows.
        8          MS. MARZOTTO TAYLOR: Relevance again.                      8           What evidence do you have of that?
        9          MS. BALIAN: Well, he's claiming he's very much             9   A. I don't believe I said the number of tickets or tows.
       10      damaged because of all this. He can't even walk out to        10       Those are separate instances.
       11      the mailbox.                                                  11   Q. The number of vehicles being towed.
       12          He's inviting the press to know about all of it.          12   A. Correct.
       13   BY MS. BALIAN:                                                   13   Q. What evidence do you have of that?
       14   Q. So, if you're so damaged by it, why do you keep going to      14   A. I think if you go back and listen to the recordings
       15      the press and informing them?                                 15       from the city council meeting and the Public Safety
       16          MS. MARZOTTO TAYLOR: Okay. You're argumentative           16       Commission meetings, you will hear various City
       17      and hostile.                                                  17       officials asking me regarding the number of tows on a
       18          MS. BALIAN: I'm asking that question.                     18       number of occasions, including Mr. Coogan.
       19   A. I don't know whether my attorney contacted the press or       19   Q. Okay. And what time period are you talking about?
       20      the press contact my attorney.                                20   A. It would have been in 2016, I believe.
       21         I invited the press because I wanted them to know          21   Q. What time period in 2016?
       22      how the City of Melvindale was spending their tax             22   A. I'm going to guess March or April, up until I was
       23      dollars. I thought it was important.                          23       suspended.
       24   BY MS. BALIAN:                                                   24   Q. And would you agree that if there was information that
       25   Q. Okay. And you don't know whether your attorney                25       you had been telling officers not to tow vehicles, that




                                                                                                               Pages 169 to 172
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                                          PageID.615                  Page 46 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                              Page 173                                                            Page 175
        1      there's going to be a concern by the City about this and    1   A. Because I was waiting to hear from corporation counsel.
        2      they may be asking you questions about it?                  2   Q. But you moved forward with the suspension.
        3   A. Yes.                                                        3         So, why not use it again?
        4          MS. MARZOTTO TAYLOR: Calls for speculation.             4         MS. MARZOTTO TAYLOR: Okay. So, I'm sorry you
        5   A. The issue I have is that that information accusing me of    5      don't like his answer, but you can't just keep asking
        6      telling officers not to tow vehicles didn't come up         6      him the same question over and over again. This
        7      until the Amended Formal Complaint and the hearing.         7      question has been asked by you repeatedly throughout the
        8         Prior to that, not one officer came forward to any       8      day today, and Chad has answered it.
        9      person that I know and said that I told them not to tow     9         So, if you have a different question that you'd
       10      cars because it's not true.                                10      like to ask, by all means.
       11   BY MS. BALIAN:                                                11   BY MS. BALIAN:
       12   Q. That you know of?                                          12   Q. I understand you were waiting for the answer, but the
       13   A. Because it's not true.                                     13      fact of the matter is you moved forward without the
       14   Q. And the investigation was not done until August of         14      answer with the suspension but didn't use the form.
       15      2016 --                                                    15         So, what's the difference between March and July?
       16          MS. MARZOTTO TAYLOR: Is there --                       16         You're only talking about a few months later, and
       17   BY MS. BALIAN:                                                17      you didn't follow the same policy.
       18   Q. -- correct?                                                18   A. Because --
       19          MS. MARZOTTO TAYLOR: -- a question?                    19   Q. So, why?
       20          MS. BALIAN: If you want to let me get it out.          20   A. Because I was recommending termination for Corporal
       21   BY MS. BALIAN:                                                21      Furman, and if I was going to do termination and they
       22   Q. Correct?                                                   22      wanted to use the trial board, the trial board has a
       23   A. I don't know when they completed that investigation.       23      different set of rules. So, I wanted to know which set
       24   Q. Okay.                                                      24      of rules I was supposed to follow because I can't do
       25              (Discussion held off the record.)                  25      them both. So, I was waiting for legal advice.



                                                              Page 174                                                            Page 176
        1   BY MS. BALIAN:                                                 1              MS. BALIAN: Okay. Anything else?
        2   Q. If your intent was to terminate Officer Furman, why         2              MR. COOGAN: I don't have anything.
        3      didn't you write up the termination and put it in the       3              MS. BALIAN: I don't have anything further.
        4      file?                                                       4              MS. MARZOTTO TAYLOR: Great.
        5   A. I wrote up a number of notes and violations of the rules    5              MS. BALIAN: Any questions?
        6      and regs and policy and procedure, and I requested to       6              MS. MARZOTTO TAYLOR: No.
        7      meet with the city attorney, and he told me a date and      7              MS. BALIAN: Good.
        8      time to call him. I called him, and he said he was not      8              (Deposition concluded at 2:33 p.m.)
        9      available. That was the Friday before I was suspended.      9                        * * *
       10   Q. My question was, why didn't you write up the               10
       11      termination?                                               11
       12   A. Because I was waiting to get legal advice from             12
       13      corporation counsel whether to use the discipline form     13
       14      that's referenced or we're going to a trial board, which   14
       15      would be a different set of documents, a different set     15
       16      of forms, like the Amended Complaint given to me. So, I    16
       17      wanted to know which path I needed to go down.             17
       18   Q. So, if you had used the discipline form that we've         18
       19      already marked as an exhibit in March when you suspended   19
       20      him, why wouldn't you use it again in July when you        20
       21      suspended him?                                             21
       22   A. Because if we were going to a trial board, it's a          22
       23      different set of rules.                                    23
       24   Q. But you chose to suspend him.                              24
       25          So, why not use it again?                              25




                                                                                                               Pages 173 to 176
Case 2:18-cv-11450-LJM-MKM ECF No. 10-14 filed 06/01/18                 PageID.616   Page 47 of 47
      CHAD LAWSON HAYSE
      February 12, 2018

                                                     Page 177
        1    STATE OF MICHIGAN )
        2    COUNTY OF OAKLAND )
        3                CERTIFICATE OF NOTARY PUBLIC
        4         I do hereby certify that the witness, whose
        5    attached testimony was taken in the above matter, was
        6    first duly sworn to tell the truth; the testimony
        7    contained herein was reduced to writing in the presence
        8    of the witness by means of stenography; afterwards
        9    transcribed; and is a true and complete transcript of
       10    the testimony given.
       11         I further certify that I am not connected by blood
       12    or marriage with any of the parties; their attorneys or
       13    agents; and that I am not interested, directly or
       14    indirectly, in the matter of controversy.
       15         In witness whereof, I have hereunto set my hand
       16    this day at Highland, Michigan, County of Oakland, State
       17    of Michigan on Wednesday, February 14, 2018.
       18
       19
       20           _______________________________________
       21           John J. Slatin, RPR, CSR-5180
       22           Certified Shorthand Reporter
       23           Notary Public, Oakland County, Michigan
       24           My commission expires: July 25, 2023
       25




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